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             CONGRESSIONAL TASK FORCE ON


             ELECTION
             SECURITY



             FINAL REPORT

             January 2018
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CONGRESSIONAL TASK FORCE ON
ELECTION SECURITY
CO-CHAIR BENNIE G. THOMPSON                                 CO-CHAIR ROBERT BRADY
MISSISSIPPI                                                 PENNSYLVANIA


REP. ZOE LOFGREN                                            REP. JAMES R. LANGEVIN
CALIFORNIA                                                  RHODE ISLAND


REP. CEDRIC L. RICHMOND                                     REP. VAL DEMINGS
LOUISIANA                                                   FLORIDA




Special thanks to staff who contributed to this final report:
Arlet Abrahamian, Collen Altstock, Moira Bergin, Rosaline Cohen, Adam Comis, Jamie Fleet, Hope Goins, Imani
Gunn, Zj Hull, Peter Hunter, Nick Leiserson, Brittany Lynch, Kerry Mckittrick, Alison Northrop, Elise Phillips,
Tanya Sehgal, Alicia Smith, Nicole Tisdale, Chris Wilcox, and the Democratic Staff of the House Committees on
Homeland Security and Administration.
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INTRODUCTION

The Russian interference in the 2016 presidential           Richmond (D-LA), and Rep. Val Demings (D-FL), was
election called for swift and robust action by the United   established to serve as a forum for Members from the
States government. While the Obama Administration           House Administration and House Homeland Security
acted with great urgency and determination to assess        Committees to engage with election stakeholders as well
and address the Russian attacks on the 2016 U.S.            as cybersecurity and election infrastructure experts to
election, the Trump Administration and Republican           ensure the health and security of our nation’s
Members of Congress still refuse – a year later – to        election systems.
pursue the facts and defend our democracy.
                                                            The six Members of Congress worked together over a
As a result, House Democratic Leader Nancy Pelosi,          period of six months with the mission to help maintain
Committee on Homeland Security Ranking Member               free, fair, and secure elections and prevent future
Bennie G. Thompson (D-MS), and Committee on                 damage to our democracy. Over the past six months,
House Administration Ranking Member Robert Brady            the Task Force met with over twenty experts and
(D-PA) announced the formation of the Congressional         stakeholders and held two public forums featuring state
Task Force on Election Security (the Task Force). The       election officials and former national security officials.
Task Force, consisting of Rep. Bennie G. Thompson           Members identified policy recommendations to fortify
(D-MS), Rep. Robert Brady (D-PA), Rep. Zoe Lofgren          our election systems, guard against future attacks, and
(D-CA), Rep. James R. Langevin (D-RI), Rep. Cedric L.       restore voter confidence in our democratic institutions.




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EXECUTIVE SUMMARY

In November 2016, 139 million Americans cast                      efforts worldwide, including against US allies and their
their votes in the wake of a massive Russian cyber-               election processes.”2
enabled influence operation designed to undermine
                                                                  One year following the attacks, we have a better
faith in American democracy. The Kremlin spread
                                                                  understanding of the threat to our elections. The
misinformation and disinformation to the American
                                                                  Russian government directed efforts to target voting
electorate through more than 1,000 YouTube videos,
                                                                  systems in 21 states prior to the 2016 election.3
130,000 tweets, and 80,000 Facebook posts. The latter
                                                                  Although there is no evidence of the attacks altering the
were viewed by approximately 126 million people on
                                                                  vote count, Kremlin hackers were able to breach at least
Facebook platforms alone. Russian agents also hacked
                                                                  two states’ voter registration databases.4 Russia’s appetite
into U.S. political organizations and selectively exposed
                                                                  for undermining confidence in western democratic
sensitive information through third-party intermediaries
                                                                  institutions – by disenfranchising voters or calling into
like WikiLeaks. Finally, Russia targeted voting systems in
                                                                  question the integrity of election administration by
at least 21 states and sought to infiltrate the networks of
                                                                  altering voter information – is only growing stronger.
voting equipment vendors, political parties, and at least
                                                                  In fact, during a hearing before the House Permanent
one local election board.
                                                                  Select Committee on Intelligence, then FBI Director
The unprecedented attack by Russia exposed serious                James Comey warned that Russia will be back as it
national security vulnerabilities in our election                 may draw from its intrusions that they were successful
infrastructure.                                                   “because they introduced chaos and division and
                                                                  discord and sowed doubt about the nature of this
On January 6, 2017 then-Department of Homeland                    amazing country of ours and our democratic process.”5
Security (DHS) Secretary Jeh Johnson designated                   In addition to Russia, China, Iran, and North Korea
election infrastructure as a critical infrastructure              remain cybersecurity threats, and we should prepare for
subsector, citing the importance of the infrastructure to         the emboldening and response of other nation states.
our national interests and the “more sophisticated and
dangerous” risks to the systems.1 The designation came            State and local election officials are acutely aware of
the same day the Office of the Director of National               the threats they are facing, but they lack the necessary
Intelligence (ODNI) released a declassified report,               funds to safeguard their voting infrastructure.6 In most
in coordination with the Central Intelligence Agency              states, legislatures are not increasing their election
(CIA), Federal Bureau of Investigation (FBI), and                 security budgets.7 In some cases, Governors are actively
National Security Agency (NSA), entitled Background               undermining election security efforts.8 Moreover, state
to Assessing Russian Activities and Intentions in Recent US       and local officials have expressed a desire for Congress
Elections: The Analytic Process and Cyber Incident Attribution.   to step in. The majority of state election officials
The report found that “Russian intelligence obtained              surveyed by Politico in late 2017 indicated that they
and maintained access to elements of multiple US state            needed additional funding from the federal government
or local electoral boards,” and that the Kremlin “will            to replace obsolete election systems and technology
apply lessons learned…to future election influence                and to bolster election security.9 Indeed, the National



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EXECUTIVE SUMMARY




Association of Secretaries of State made clear to the      Federal Funds Should Be Provided to Help
Task Force that “[s]tates would clearly benefit from the   States Upgrade and Maintain IT Infrastructure,
appropriation of the outstanding balance of federal        Including Voter Registration Databases
HAVA [Help America Vote Act] funds to aid them in          States need money to replace outdated technology
ensuring that they have sufficient equipment, technical    and hire IT support. It is important to note that cyber
support, and resources to maintain a sound security        threats evolve at a rapid pace, and a one-time lump sum
posture for their computer-based systems.”10               investment is not enough. States also need resources for
                                                           maintenance and periodic upgrades, and cybersecurity
This issue is simply too important to sit back and         training for poll workers and other election officials.
watch state governments and the federal government         Congress must establish a mechanism to provide
pass responsibility back and forth. In late December,      ongoing support to state and local governments.
a bipartisan group of Senators introduced the “Secure
Elections Act” that would strengthen our elections         Election Technology Vendors
and provide states with the resources they need. With      Must Secure Their Voting Systems
the 2018 midterm elections rapidly approaching, it is      Many states purchase their voting systems from
imperative that the House of Representatives also act      third-party vendors who have little financial incentive
to secure our elections and protect the integrity of the   to prioritize election security, and are not subject to
ballot box. Our investigation has led us to make the       regulations requiring them to use cybersecurity best
following recommendations:                                 practices. Election vendors should be required to
                                                           inform Election Assistance Commission (EAC) and
Federal Funds Should Be Provided to Help                   DHS officials in the event of a cyberattack. In addition,
States Replace Aging, Vulnerable Voting                    state contracts should require vendors to: 1) secure their
Machines with Paper Ballots                                systems, and 2) notify state and local officials in the case
The Brennan Center estimates that the cost to replace      of a cyber security incident.
paperless direct-recording electronic voting machine
(DREs) would be between $130 and $400 million, and         The Federal Government Should
Congress could authorize this money right now. The         Develop a National Strategy to Counter
Help America Vote Act (HAVA) authorized $3 billion to      Efforts to Undermine Democratic Institutions
meet the statute’s requirements, and over $300 million     We need a strong, consistent rebuke from the White
remains to be appropriated.11 Congress should act          House. Next, we need the President to acknowledge
immediately to allow states to use this money.             that we need a “9/11-style” Commission to help
                                                           identify the various ways in which Russia and other
States Should Conduct Risk-Limiting                        potential threat actors are seeking to undermine
Post-Election Audits                                       democracy and develop a plan to confront them.
A risk-limiting audit involves hand counting a certain
number of ballots to determine whether the reported        The Intelligence Community Should
election outcome was correct.12 A statistically sound      Conduct Pre-Election Threat Assessments
post-election audit would enable states to determine       Well in Advance of Federal Elections
that the original vote count was substantially accurate.   The Intelligence Community should complete and
                                                           provide to Congress and state and local election officials
                                                           an assessment of the full scope of threats to election
                                                           infrastructure 180 days prior to a federal election,
                                                           together with recommendations provided by DHS and
                                                           EAC to address them.

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                                                                                              EXECUTIVE SUMMARY




DHS Should Maintain the Designation                            Establish Clear and Effective Channels
of Election Infrastructure as a Critical                       for Sharing Threat and Intelligence
Infrastructure Subsector                                       Information with Election Officials
Defining election systems as critical infrastructure           DHS needs a formalized process to provide real-
means election infrastructure will, on a more formal           time appropriate threat information to state and local
and enduring basis, be a priority for DHS cybersecurity        election officials to improve information flow and help
services. This is not the time to diminish federal efforts     prevent intrusions in our election infrastructure.
or shut down important lines of dialogue between DHS
and election administrators.                                   States Should Prioritize
                                                               Cybersecurity Training
Empower Federal Agencies to be Effective                       States and localities face the daunting task of training
Partners in Pushing out Nationwide                             hundreds, if not thousands, of election officials,
Security Reforms                                               IT staff, and poll workers on cybersecurity and risk
Congress must act and give DHS the resources it                mitigation. It costs money for states to produce
needs to meet its obligations to state and local election      training materials, and takes staff time to implement
officials, as well as all critical infrastructure owners and   statewide training programs. The federal government
operators. Similarly, Congress should fund the EAC at          should provide training support either through the
a level commensurate with its expanded role in election        EAC or by provide funding to states to assist with
cybersecurity and confirm a fourth commissioner so             their training programs.
the agency is able to continue to serve as a resource on
election administration.




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UNDERSTANDING THE THREAT

THE FOUR GREATEST STATE-ACTOR THREATS
Before addressing recommendations, this report will         Soviet predecessor, has a history of conducting covert
lay out the capabilities of each of the four state actors   influence campaigns focused on US presidential
that may pose the greatest threat. Using examples           elections that have used intelligence officers and agents
drawn from each of these states’ past cyber activities,     and press placements to disparage candidates perceived
this report will also comment briefly on what might         as hostile to the Kremlin.”17
motivate each of these four actors to interfere in future
                                                            What was new in Russia’s 2016 meddling was not its
U.S. elections
                                                            goal of undermining democratic values, or its targeting
Russia                                                      of election infrastructure, but rather that Russia’s
In 2016, Russia waged an unprecedented and egregious        election interference was conducted on a massive scale
campaign to undermine U.S. democracy. In January            and with a high level of technological sophistication.
2017, ODNI released a declassified report on Russian        As the January 2017 report noted, “Russian efforts to
activities that stated the U.S. government had “high        influence the 2016 US presidential election represent
confidence” that Russian President Vladimir Putin           the most recent expression of Moscow’s longstanding
“ordered an influence campaign in 2016 aimed at             desire to undermine the US-led liberal democratic order,
the US presidential election” in order to “undermine        but these activities demonstrated a significant escalation
public faith in the US democratic process, denigrate        in directness, level of activity, and scope of effort
[Hillary] Clinton, and harm her electability and            compared to previous operations.”18
potential presidency.”13 The report also assessed that
                                                            Russia’s campaign of election interference in 2016
the Russian government “aspired to help President-
                                                            included hacked e-mails and their distribution on
elect Trump’s election chances when possible by
                                                            WikiLeaks, fake and/or automated social media
discrediting Secretary Clinton and publicly contrasting
                                                            accounts, and false news stories. As U.S. intelligence
her unfavorably to him.”14
                                                            agencies also reported in January 2017:
The January 2017 ODNI report and numerous rounds
of recent testimony to Congress by experts on Russia
have made clear that Russia’s interference into the
                                                                “Russian intelligence obtained
U.S. elections in 2016 was neither its first nor its only
                                                                 and maintained access to
assault on a country’s electoral system.15 Both prior
                                                                 elements of multiple…state or
and subsequent to its 2016 assault on the U.S. election
                                                                 local electoral boards.”19
infrastructure, Russia conducted hybrid assaults on
elections and democratic institutions in Ukraine, the
Balkans and throughout Europe.16 Russia has targeted        According to DHS, Russian agents targeted election
the United States in the past as well, as the January       systems in at least 21 states, stealing personal voter
2017 ODNI report stated, noting “Russia, like its           records and positioning themselves to carry out future



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                                                                                   UNDERSTANDING THE THREAT




attacks.20 In June, media also reported that the Russians     North Korea
accessed at least one U.S. voting software supplier and       North Korea has also long viewed cyber capabilities as
sent spear-phishing emails to more than 100 local             tools to use against its perceived adversaries,27 and could
election officials just days before 2016 November’s           potentially launch a cyber operations against the United
presidential election.21 Although in most of the targeted     States’ vulnerable election infrastructure. North Korea’s
states officials saw only preparations for hacking, such      cyber capabilities have improved steadily over time,28
as scanning of networks in Arizona and Illinois, voter        and could inflict significant damage on U.S. private or
registration databases were reportedly breached.22            government networks.29 Although debate continues
                                                              about the precise scope and extent of North Korea’s
                                                              cyber capabilities, a high-ranking U.S. military official
                                                              assessed in April 2014 that North Korea employed
    If 2016 was all about preparation,
                                                              hackers capable of cyber-espionage and disruptive
    what more can they do and when
                                                              cyberattacks.30
    will they strike?
                                                              Experts on the Democratic People’s Republic of
                                                              Korea (DPRK) have identified a range of motivations
While it is possible Russia’s interference was a unique       for North Korea to conduct cyber operations,
political event, experts warn that Russia and other state     including retaliatory attacks.31 A prime example of
actors will almost certainly be back to seek to               North Korea’s cyber hacking capabilities is the 2014
undermine our democracy in the future. For instance,          hacking of Sony Pictures Entertainment.32 Recently,
when asked in March about the prospects for future            North Korean cyber actors appear to have begun
interference by Russia, then-FBI Director James Comey         significantly expanding their targeting of entities
testified before Congress that: “[T]hey’ll be back. They’ll   and institutions in various countries, including
be back in 2020. They may be back in 2018.”23                 broadened attacks against government entities and
Commenting on Russia’s extensive capability to hack           private companies from the Republic of Korea33
into county and local databases, former DHS Secretary         and financial institutions in the United States. The
Jeh Johnson stated that even during the 2016 election he      WannaCry ransomware infected as many as 300,000
had feared Russia’s possible targeting of state voter         users worldwide, including hospitals, and were caused
databases.24 Furthermore, numerous security and               by a strain of cyber worms that restricted users’ access
intelligence experts have noted that we have significant      to a computer.34 Experts have suggested that North
reason to fear such an attack by Russia in the future.25      Korean hackers were almost certainly behind this
Some have even voiced concerns that having suffered           attack.35 In a briefing on December 19, 2017, Tom
probing attacks last year, we may face an even more           Bossert, President Donald Trump’s homeland security
sophisticated assault next time around.26 Russia retains      adviser, officially attributed the WannaCry ransomware
all of the significant cyber capabilities it exhibited in     to the North Korean government.36
2016, and experts believe that the Russian government         The WannaCry hackers are also said to be part of the
will have learned from its 2016 experience to more            “Lazarus Group” that was also behind the February
effectively exploit vulnerabilities going forward.            2016 hacks of the Society for Worldwide Interbank
                                                              Financial Telecommunication (SWIFT) messaging
                                                              service.37 The SWIFT system is used by some 11,000
                                                              banks and companies to transfer money from one



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UNDERSTANDING THE THREAT




country to another and is considered the backbone of       Iran
global finance.38 The hacks of these SWIFT financial       Iran has long had the United States in its political
terminals resulted in the theft of approximately $81       cross-hairs. Iran has heavily invested in building up the
million from banks in Bangladesh and Southeast Asia.39     cyber capabilities of the Iranian Revolutionary Guard
North Korea is now being linked by a number of cyber       Corps (IRGC) and other Iranian government proxies.45
experts to similar attacks on banks in as many as 18       Iran has also been scaling up its cyber capacities since
countries.40 If confirmed, these techniques used would     the Stuxnet – a complex piece of malware designed
represent a troubling new capability.41                    to interfere with Siemens Industrial Control systems
                                                           for nuclear centrifuges – was discovered in Iran46 and
                                                           elsewhere.47 Under President Rouhani, Iran increased
                                                           its cyber budget twelve-fold, which based on some
    North Korea, like Russia, has also                     assessments makes it a “top five world cyber-power.”48
    shown it likely has the capability                     Experts also point to Iranian cyberattacks on Wall Street
    not only to hack and release                           as an example of the threat Iran poses to the broader
    e-mails, but also to                                   U.S. civilian infrastructure. In fact, Fire Eye reported that
    alter data.42                                          of its investigations of attacks on Western companies
                                                           and governments, Iran now ranks with China and Russia
                                                           in terms of frequency of attack.49
Should the DPRK decide that creating election chaos is
                                                           Iran’s most infamous cyber operations include the
worth the risk of potential retaliation from the United
                                                           “Shamoon” attack on Saudi giant Aramco50 and several
States, North Korea could use its cyber capabilities
                                                           waves of “distributed denial of service” attacks against
to manipulate poll books stored online. If the DPRK
                                                           at least 46 major financial institutions and companies
can target financial networks, large corporations like
                                                           and critical infrastructure.51 Targets included six leading
Sony, and companies that are part of a country’s
                                                           U.S. banks, including J.P. Morgan Chase.52 The Justice
energy network, then smaller, resource-strapped
                                                           Department indicted seven Iranian hackers for the
U.S. towns, counties, and states will have difficulty
                                                           coordinated financial services attacks, which included
resisting or responding to a targeted attack. Experts
                                                           an attempt to interfere in the command and control
assess that as pressure from the West to derail North
                                                           system of a New York dam.53 Separately, a September
Korea’s nuclear weapons program increases, DPRK
                                                           2017 cyber security firm report identified a new Iranian-
leader Kim Jong Un will likely continue to develop
                                                           sponsored hacking group, nicknamed APT33, which has
cyber capabilities in response.43 Additionally, while
                                                           been targeting organizations in the aviation and energy
experts have suggested that traditionally China could
                                                           industries in the United States, South Korea, and Saudi
exert some degree of control over North Korean
                                                           Arabia.54
hackers’ access to the internet, North Korea is actively
exploring ways to circumvent such restrictions. A          As a result of the 2015 nuclear deal, Iran appears to
senior technology officer at a leading cybersecurity       have cut back on cyberattacks aimed at U.S. banks and
firm noted the DPRK’s new connection to the outside        government agencies.55 However, prominent experts
world via Russia would enhance North Korea’s ability       warn that Iran may decide to interfere in future U.S.
to command future cyber operations.44                      elections as retribution for U.S. actions, particularly
                                                           if Iran assesses there would be no significant U.S.
                                                           response.56 Moreover, in an example of Iran’s ongoing


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                                                                                 UNDERSTANDING THE THREAT




malicious activity, a Forbes investigation revealed that     United States filed criminal charges in May 2014 over a
an employee at a major U.S. accounting firm, Deloitte,       set of computer intrusions and indicted five members
allegedly fell victim to a sophisticated fake Facebook       of China’s People’s Liberation Army (PLA).63 Also, in
account operated by Iranian hackers in late 2016.57          May 2013, Chinese hackers reportedly compromised
This same Iranian hacker group’s recent activities have      the computer systems of at least nine U.S. agencies,
provoked increased concern about Iran’s possibility          including the Department of Labor and the Army
of ramping up its cyberattacks on the United States in       Corps of Engineers’ National Inventory of Dams.64
response to the Trump Administration’s stance on the         Also in 2013, a China-linked threat actor known
regime.58 Experts have raised concerns that rather than      as Deep Panda reportedly compromised high-tech
acting wholly on their own, hackers from the Iranian         sector companies, the U.S. defense industrial base,
cyber army could team up with the Russians or other          nongovernmental organizations, and state and federal
actors to pool capacity and resources to target the U.S.     government entities for espionage purposes.65
electoral system.59
                                                             The debate about the threat China poses is not
                                                             only about its capabilities, but also its motivations.
                                                             In September 2015, China and the United States
    Experts have warned that Iranian                         reached an agreement on refraining from conducting
    hackers have relationships with                          economic cyber-espionage. It is still too early to reach
    the Russians, Chinese, and North                         conclusions about China’s activities, post-agreement.
    Koreans, and have exchanged                              Nonetheless, experts have noted that, China unlike
    tactics, tools, and procedures for                       Russia, has to-date largely restricted its activities to
    cyber warfare with at least Russia                       espionage rather than interfering in U.S. elections on a
    and North Korea.60                                       grand scale.66 Experts assess that China is also deeply
                                                             concerned about and intent on preserving plausible
                                                             deniability related to its cyber actions.67 Therefore,
China                                                        China may not follow the Russian model of unabashed
China has consistently been identified, along with           interference in the U.S. elections beyond hacking
Russia, as one of the most persistent and advanced           campaigns for espionage purposes.
cyber actors threatening the United States today. China
has engaged in various cyber operations either for
espionage or political motivations. Furthermore, China,          The most concerning issue is
together with Russia, tops the list of state actors that         China’s advanced cyber warfare
possess the most sophisticated capabilities and have             capabilities could be rapidly
also integrated their cyber tactics into their warfighting       deployed and used against the
strategies and doctrines.61                                      U.S. and our interests should
                                                                 their political motivations and
Among the most infamous cyber intrusions commonly                calculations change.
attributed to China are the hacks of the U.S. Office of
Personnel Management (OPM).62 China had previously
been identified by the U.S. government as one of the
most active state actors in cyberspace. For example, the



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ADMINISTERING ELECTIONS

FEDERAL AGENCIES
Although state and local officials are primarily             Election Assistance Commission
responsible for administering and securing elections,
certain federal agencies play a supporting role by setting
security standards, administering grants for equipment           “The EAC was instrumental in
upgrades, providing technical guidance and other                  providing us with key advice and
resources, and promoting partnerships and information             counsel in the development of
sharing among stakeholders.                                       the Request for Proposals for new
                                                                  voting equipment and electronic
The EAC is an independent, bipartisan commission                  poll books. The assistance
that serves as a national clearinghouse of information            ensured Rhode Island entered the
on election administration. The EAC provides a vital              2016 election with state-of-the-art
link between state and local election administrators              voting equipment.”
and the federal government by providing three main
services: 1) testing and certifying voting machines;                                           - Nellie Gorbea,
2) assisting states with the management of election                            Rhode Island Secretary of State78
technology and 3) helping state and local officials
prepare for elections.
                                                             BACKGROUND AND ROLE
DHS coordinates the overarching federal effort to            In the wake of the chaotic 2000 presidential election,
promote the security, including cybersecurity, of the        Congress passed the Help America Vote Act of
nation’s critical infrastructure, defined as systems         2002 (HAVA). HAVA sought to improve election
and assets for which “incapacity or destruction …            administration by instituting numerous reforms. Some of
would have a debilitating impact on security, national       the most notable include: 1) providing funds to replace
economic security, national public health or safety,” or     antiquated voting machines, 2) requiring states to create
any combination thereof.68 DHS also plays a key role in      a computerized, statewide voter registration list, and 3)
facilitating information sharing between federal, state,     promoting accessibility for people with disabilities.
and local officials. Specifically, DHS is charged with
analyzing and integrating law enforcement, intelligence,     HAVA created the EAC to administer the newly
and other threat information, then disseminating such        created grant program, to develop guidance to assist
information, as appropriate, to federal, state, and local    states in meeting HAVA requirements, and to serve as
government officials with “responsibilities related to       a national clearinghouse of information on election
homeland security.”69                                        administration. In addition, the EAC tests and certifies
                                                             voting machines, provides guidance on managing
These agencies have resources, expertise, and                election technology, and works with state and local
stakeholder relationships that can assist state and local    officials to assist them in preparing for elections.
election officials in securing their elections.


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                                                                                    Administering Elections




Testing and Certifying Voting Machines                      22 instructional and facilitative videos, nearly 100 blog
The EAC tests, certifies, and decertifies voting machines   posts, and ten public meetings, summits and round tables.
to help states better navigate the voting machine
                                                            In 2016, as discussions concerning the security of
procurement process. The voting machines are tested
                                                            elections and potential foreign interference became
against a set of standards, the Voluntary Voting System
                                                            increasingly common, the EAC leveraged its existing
Guidelines (VVSG), put together by the EAC in
                                                            relationships with election administration officials to
conjunction with the National Institute of Standards
                                                            facilitate communication between state election officials
and Technology (NIST) as well as experts from the
                                                            and the DHS.75 EAC Commissioner Tom Hicks, when
public and private sectors. The most recent VVSG
                                                            appearing before the Task Force at a public forum in
were adopted in 2015. Currently, the VVSG are in the
                                                            October stated that, “The EAC has been a key player
process of being updated, and the EAC anticipates
                                                            in helping election officials understand and leverage
adopting revised guidelines in the first half of 2018.70
                                                            the Department of Homeland Security designation
Though states are not required to participate in the
                                                            of elections infrastructure as critical infrastructure.”76
EAC’s testing and certification program, over 40 states
                                                            The EAC has facilitated, mediated, and participated
currently require either certification or some component
                                                            in meetings between elections officials and DHS,
of the Commission’s testing and certification program
                                                            and produced educational materials to help states
for the voting systems used in their jurisdictions.71 Of
                                                            understand and utilize the critical infrastructure
the states that do not use any part of the EAC’s testing
                                                            designation. In addition, the EAC served as a resource
or certification program, three (Florida, Oklahoma, and
                                                            to DHS to help the agency understand election
Oregon) were targeted by Russian hackers in 2016.72
                                                            administration.77
Managing Election Technology
                                                            Over the past 15 years, the EAC has proven itself an
In addition to testing and certifying voting machines,
                                                            important partner to state and local election officials.
the EAC has sought to assist election officials with the
                                                            According to Rhode Island Secretary of State Nellie
rest of the technology involved in running an election.
                                                            Gorbea, “The EAC was instrumental in providing us
In 2016, the EAC launched a video series that featured
                                                            with key advice and counsel in the development of the
election officials, advocacy groups, and academics and
                                                            Request for Proposals for new voting equipment and
offered guidance on how to leverage high and low-tech
                                                            electronic poll books. The assistance ensured Rhode
tools in administering elections.73 The Commission
                                                            Island entered the 2016 election with state-of-the-art
also provides easy-to-follow cybersecurity guidance on
                                                            voting equipment.78
protecting voter registration data and securing election
night reporting systems.74
                                                            PATH FORWARD
Helping State and Local Officials
                                                            Since 2011, Republicans have made several attempts to
Prepare for Elections
                                                            eliminate the EAC. In June 2011, a bill to terminate the
The EAC seeks to be a useful resource to election
                                                            Commission reached the House floor, but failed to gain
administrators across the country. In anticipation
                                                            enough votes to pass under suspension of the rules.79 In
of the 2016 election, the EAC launched an election
                                                            addition, Congress has often stalled in confirming a full
preparedness campaign that provided guidance and
                                                            set of commissioners to the EAC. Between 2011 and
materials to states on topics such as poll worker
                                                            2015, the EAC did not have any commissioners as the
management, serving military voters, and running
                                                            Republican-lead Senate would not confirm nominees.80
vote by mail programs. In 2016, the EAC produced
                                                            During this time, the EAC was unable to approve new


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voting machine guidelines as three commissioners are           security issues. In February 2017, Rep. Robert Brady
required to act. As a result, some states were forced          introduced legislation to reauthorize the Election
to delay purchasing new voting machines. Three                 Assistance Commission and to provide funds for the
commissioners were approved in 2015; however, the              EAC to assist states with security upgrades for the voter
Commission still lacks a fourth commissioner.                  registration systems.83

The EAC operates on a small budget, spending
between eight and ten million dollars in recent years.         Department of Homeland Securit y
Given the vital role the agency plays in ensuring the
integrity of our elections, Congress should be working
to provide more resources. Not only does the agency                In the years following DHS’
provide the only federal voting machine testing and                formation, security experts warned
certification program, but it was also vital in protecting         that the “invisible enemy” could
our elections in the face of foreign interference in the           manifest as a major cyberattack
2016 election. Former FBI Director James Comey,                    that disrupts the networks we rely
testifying before the Senate Judiciary Committee in                on for clean water, electricity, food,
May 2017, stated the following:                                    or medical care. Few anticipated
                                                                   that the looming “Cyber Pearl
     In short, what we’ve done with DHS is share
                                                                   Harbor,” would take the shape
     the tools, tactics, and techniques we see hackers,
                                                                   of a foreign adversary targeting
     especially from the 2016 election season, using
                                                                   U.S. election systems.
     to attack voter registration databases and try and
     engage in other hacks. And we’ve pushed that out
     to all the states and to the Election Assistance          In its 2002 proposal to stand up the Department
     Commission so they harden their networks. That’s          of Homeland Security, the Bush White House
     one of the most important things we can do.81             warned of “invisible enemies that can strike with
                                                               a wide variety of weapons” and advocated for “a
The EAC is in the unique position of being a federal           single, unified homeland security structure that will
agency with relationships with state and local election        improve protection against today’s threats and be
officials, and with an expertise in election administration.   flexible enough to help meet the unknown threats
The Commission has been vital to helping states work           of the future.”84 The Homeland Security Act of 2002
with DHS to understand and take advantage of the               established the Department of Homeland Security,
“critical infrastructure” designation. Since the designation   in part, to centralize national efforts to harden the
was made in January 2017, the EAC has worked diligently        defenses of vulnerable U.S. infrastructure and assets
to build trust between state election officials and DHS by     that could be exploited by our enemies and to help
facilitating dialogue and drafting a white paper on critical   create a robust information sharing environment to
infrastructure for state officials.82                          remedy the shortfalls exposed in the 9/11 attacks.85
                                                               For the 16 sectors of the U.S. economy designated
Instead of attempting to terminate the agency, the
                                                               ‘critical infrastructure,’ DHS is authorized to provide
President should nominate and the Senate should
                                                               priority access to technical assistance, vulnerability
confirm a fourth commissioner, and Congress should
                                                               assessments, access to information sharing centers and
work to provide the EAC with more resources so it can
                                                               classified threat intelligence, incident response, and
provide more robust assistance to states on election



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other resources.86                                          stakeholders, and sectors and subsectors may establish
                                                            Sector Coordinating Councils (SCCs) for private entities.
In the years following DHS’ formation, security experts     Although DHS may offer support upon request, SCCs
warned that the “invisible enemy” could manifest as a       are self-organized, self-run, and self-governed.
major cyberattack that disrupts the networks we rely
on for clean water, electricity, food, or medical care.87   Information Sharing
DHS organized its cybersecurity programs accordingly,       To promote frank conversations between DHS, SSAs,
focusing its limited resources on tools, technologies,      and critical infrastructure owners and operators, federal
and relationships that would help ensure continuity         law protects information on critical infrastructure
of operations for hospitals, telecommunications,            vulnerabilities, or Protected Critical Infrastructure
and the electrical grid.88 It primarily provides these      Information (PCII), from disclosure under the Freedom
services through its National Protection and Programs       of Information Act and similar state statutes.95 The
Directorate (NPPD). Few anticipated that the looming        designation also makes it easier for critical infrastructure
“Cyber Pearl Harbor,” would take the shape of a             stakeholders to share threat intelligence through
foreign adversary targeting U.S. election systems.89        platforms like the NPPD’s National Cybersecurity
                                                            Communications and Integration Center (NCCIC),
Critical Infrastructure                                     a 24/7 watch center that collects, analyzes, and
Critical infrastructure owners and operators enjoy          disseminates indicators of concern.96 This information
priority access to a number of DHS cybersecurity            flows to critical infrastructure sectors through
programs and services, including cyber hygiene scans        Information Sharing and Analysis Centers (ISACs),
for Internet-facing systems, Risk and Vulnerability         central nodes within each sector for communicating
Assessments, and incident response assistance.90            about cyber threats.97 The Multi-State ISAC (MS-ISAC)
Owners and operators are also eligible to apply for         performs this function for state, local, tribal, and
security clearances, tap into classified information        territorial governments.98
sharing exchanges, and participate in collaborative
councils designed to foster a more enduring, consistent     It should be noted that DHS is not a regulator.99
dialogue with other security stakeholders.91 The            Participation in DHS’ programs is voluntary, and
designation also carries international significance. A      their success relies on stakeholders choosing to
2015 United Nations agreement signed by 20 nations,         participate both for their own benefit and the greater
including Russia, to refrain from conducting or             good of the sector. DHS brings to bear an ability
supporting cyber-activity that intentionally damages        to build and convene a robust network of critical
or impairs the operation of critical infrastructure in      infrastructure security stakeholders and provide an
providing services to the public.92 The agreement also      apparatus for sharing threat intelligence, candidly
calls on nations to assist one another in defending their   discussing vulnerabilities, and fostering public-private
critical infrastructure against cyberattacks.93             cooperation.100 When DHS detects malicious activity or
                                                            learns of a breach, it may notify the owner or operator
Each sector has an assigned Sector Specific Agency          of the affected system.101 However, owners and
(SSA) responsible for developing and implementing           operators are ultimately responsible for securing their
a Sector Specific Plan, a component of the National         systems and assets.
Infrastructure Protection Plan (NIPP) maintained by
DHS.94 DHS establishes a Government Coordinating
Council (GCC) comprised of relevant public sector           DHS EFFORTS IN THE 2016 ELECTION



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                                                              stand up an Election Infrastructure Cybersecurity
                                                              Working Group.107 Despite some initial criticism for not
     “Time is a factor…”123
                                                              including representatives from the tech community, this
                                                              working group served as a focal point for coordination
DHS entered the election security arena in the summer         between DHS and election administrators in the lead-up
of 2016 when, in the wake of the cybersecurity                to Election Day and thereafter.108
breaches targeting political candidates and institutions,
the NCCIC began receiving reports of cyber-enabled            Secretary Johnson made another push to state officials to
scanning and probing of state election-related                implement cybersecurity recommendations from NIST
infrastructure, some of which appeared to originate           and EAC and invited them to take advantage of DHS’
from a server operated by a Russian company.102               suite of free, voluntary cybersecurity tools and services.109
Around this time, DHS also began fielding inquiries           Some of the most relevant services included:110
from Members of Congress, including Rep. Bennie G.
                                                              Cyber Hygiene Scans, which can be conducted
Thompson, who wrote to DHS in early August to urge
                                                              remotely and, therefore, more quickly than other
the Secretary to “act swiftly” to “defend the integrity,
                                                              services. Through these scans, DHS is able to generate
reliability, and validity of our free and democratic
                                                              a report for state and local officials identifying
elections.” The letter went on to note that “DHS, as the
                                                              vulnerabilities and recommend security measures for
federal government lead for working with State, local,
                                                              online voter registration, election night reporting, and
tribal, and territorial governments to secure critical
                                                              other Internet-connected systems.
infrastructure and information systems, is the natural
partner for efforts to address cyber vulnerabilities in the   Risk & Vulnerability Assessments, a more thorough,
nation’s electoral system.”103                                on-site review conducted by DHS cybersecurity experts.
                                                              RVAs typically require two to three weeks and include a
On August 3, 2016, DHS made its cybersecurity and
                                                              wide range of internal and external vulnerability testing
infrastructure protection capabilities available to state
                                                              services, concluding with a full report on vulnerabilities
and local election officials and engaged in an outreach
                                                              and recommended mitigation measures.
campaign to persuade stakeholders to use them.104
Specifically, DHS contacted election community                Incident Response Assistance in the event of
stakeholders like the EAC and the National Association        suspected malicious cyber activity. State and local
of Secretaries of State (NASS) to offer cybersecurity         election officials were advised to report such activity
assistance, make them aware of an FBI alert related to        to the NCCIC, which could, upon request, provide
breaches into two state election boards, and urge them        on-site assistance in identifying and remediating a cyber
to check their systems for similar activity.105 In order to   incident. This information could then be shared with
facilitate the delivery of DHS’ voluntary cybersecurity       other states to help them defend their own systems.
services, Secretary Johnson began considering
designating election systems as critical infrastructure.106   Information sharing, primarily through the MS-ISAC,
                                                              a platform for sharing threat intelligence with state
On August 15, 2016, Secretary Johnson brought the             officials, usually the state Chief Information Officers
EAC, NIST, and DOJ together for a conference call             (CIOs). Cleared stakeholders could receive classified
with NASS and other organizations representing                briefings upon request.
state chief election officials. Recognizing the need
to streamline information sharing with the elections          Field-based cybersecurity and protective security
community, Secretary Johnson announced plans to               advisors who can provide actionable information


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and connect election officials to a range of tools           recapitalize voting technology.118
and resources available to improve the cybersecurity
                                                             DHS was slow to gain the trust and buy-in of its state
preparedness of election systems and the physical site
                                                             partners. On September 28, 2016, with the election
security of voting machine storage and polling places.
                                                             nearing and fewer than half the states requesting
These advisors are also available to assist with planning
                                                             assistance from DHS, bipartisan Congressional
and incident management assistance for both cyber and
                                                             leadership wrote to state election officials to urge them
physical incidents.
                                                             to take advantage of resources to secure their network
Physical and protective security tools, training,            infrastructure, including those offered by DHS.119 At
and resources to improve security at polling sites           the same time Congressional leadership promised
and other physical election infrastructure. At the time,     to “oppose any effort by the federal government
DHS provided specific guidance for administrative            to exercise any degree of control over the states’
and volunteer staff to identify and report suspicious        administration of elections by designating these systems
activities, active shooter scenarios, and other threats.     as critical infrastructure.”120

Secretary Johnson also discussed ongoing deliberations
about whether to designate election systems as critical          “Some states have also recently
infrastructure.111 Reactions varied, particularly because         seen scanning and probing of their
DHS did not suggest additional funding would                      election-related systems, which
accompany the critical infrastructure designation.112             in most cases originated from
DHS also struggled to combat the perception that                  servers operated by a Russian
requesting DHS cybersecurity assistance amounted to a             company.”121
federal takeover of elections. In any event, by that point
there was insufficient time for state election officials
                                                             On October 7, 2016, one month before Election Day,
to make any significant changes to elections systems
                                                             Secretary Johnson again urged state officials to take
to resolve any new vulnerabilities identified113 and
                                                             advantage of DHS cybersecurity assistance to secure
states were increasingly concerned about undermining
                                                             their election systems in light of intelligence related
confidence in the election process.114
                                                             to Russian efforts to meddle in the 2016 presidential
On August 5, 2016, NASS issued a statement                   election. That day, DHS and ODNI released a Joint
confirming that state officials would be vigilant in their   Statement announcing with confidence that the Russian
efforts to secure election infrastructure, but that “there   government was behind “compromises of emails from
has been no indication from national security agencies       US persons and institutions, including from US political
to states that any specific or credible threat exists when   organizations.” Additionally, the statement revealed that
it comes to cyber security and the November 2016             some states had “seen scanning and probing of their
general election.”115 Ultimately, it deemed “hacking of      election-related systems, which in most cases originated
the election is highly improbable due to [the] unique,       from servers operated by a Russian company.”122
decentralized process.”116 Nevertheless, NASS said its
                                                             On October 10, DHS once again warned election
members would engage in ongoing information sharing
                                                             officials that: “[T]ime is a factor… There are only 29
with the federal government related to cybersecurity
                                                             days until Election Day.”123 Although cyber hygiene
risks and how to address them,117 while working to
                                                             scans can be performed quickly and remotely, “it can
educate Congress and the public about its ongoing
                                                             take up to two weeks…to run the scans and identify
election security efforts and the need to invest and


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vulnerabilities. It can then take at least an additional        desire to undermine the US-led liberal democratic
week for state and local election officials to mitigate any     order, but these activities demonstrated a significant
vulnerabilities on systems that we may find.”124 With           escalation in directness, level of activity, and scope of
consistent prodding, DHS provided cyber hygiene scans           effort compared to previous operations.”130 Russia’s
to election officials in 33 states and 36 local jurisdictions   long-standing, multi-faceted strategy “blends covert
and shared over 800 cyber threat indicators officials           intelligence operations—such as cyber activity—with
could use to identify attempted intrusions, as well as          overt efforts by Russian Government agencies, state-
other tactics, techniques and best practices, with officials    funded media, third-party intermediaries, and paid
in thousands of jurisdictions across the country.125            social media users or ‘trolls’ in order to cripple its
                                                                adversaries.”131
CRITICAL INFRASTRUCTURE DESIGNATION
                                                                That same day, then-Secretary Jeh Johnson designated
     “We should carefully consider                              election infrastructure as critical infrastructure.132 In
      whether our election system,                              making the designation, then-Secretary Johnson stated:
      our election process is critical
      infrastructure, like the financial                             I have determined that election infrastructure in
      sector, like the power grid…There’s                            this country should be designated as a subsector
      a vital national interest in our                               of the existing Government Facilities critical
      electoral process.”                                            infrastructure sector. Given the vital role elections
                                   - Jeh Johnson,                    play in this country, it is clear that certain systems
                         Former Secretary of the                     and assets of election infrastructure meet the
             Department of Homeland Security126                      definition of critical infrastructure, in fact and
                                                                     in law.
After Election Day, evidence continued to surface about
                                                                     I have reached this determination so that election
the extent of Russian interference. DHS worked with the
                                                                     infrastructure will, on a more formal and enduring
Intelligence Community to carry out a broad review of
                                                                     basis, be a priority for cybersecurity assistance and
all election-related hacking incidents before the end of
                                                                     protections that the Department of Homeland
the Obama Administration.127 On December 29, the day
                                                                     Security provides to a range of private and public
President Obama announced sanctions against Russia,
                                                                     sector entities.133
DHS, ODNI, and the FBI released a Joint Analysis
Report (JAR) titled Grizzly Steppe – Russian Malicious          Importantly, then-Secretary Johnson made clear
Cyber Activity offering greater detail about Russian            that a State or local election board’s decision to avail
targeting and urging owners and operators to look back          itself of DHS’ cybersecurity resources is voluntary:
at their network traffic for signs of malicious activity.128    “This designation does not mean a federal takeover,
                                                                regulation, oversight or intrusion concerning elections
On January 6, 2017, the U.S. Intelligence Community
                                                                in this country.”134 The designation requires the
reported that “Russian President Vladimir Putin
                                                                Department “to prioritize our cybersecurity assistance
ordered an influence campaign in 2016 aimed at the
                                                                to state and local election officials, but only for those
US presidential election” and Russian intelligence
                                                                who request it.”135
attempted to breach multiple state or local election
boards.129 According to the report, “Russian efforts to         Regardless, the announcement escalated tensions
influence the 2016 US presidential election represent           between DHS and the elections community and re-
the most recent expression of Moscow’s longstanding


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Former Secretary of Homeland Security Jeh Johnson and former Under Secretary for the DHS National Protection and Programs
Directorate Suzanne Spaulding testifying before the Task Force on September 28, 2017. Both officials warned that Russia will
continue to target western democratic elections and urged swift action to secure U.S. voting systems.


ignited concerns about federal overreach. NASS issued             After the conference, state officials said they were
a resolution opposing the designation, describing it as           “disappointed” that DHS officials “weren’t prepared to
“legally and historically unprecedented, raising many             answer our questions” and frustrated that DHS was still
questions and concerns for states and localities.”136             only able to have surface-level conversations about the
                                                                  designation.139
Since January 2016, DHS has worked with election
officials to help them understand and take advantage              Specifically, election officials expressed great frustration
of the designation. However, the reception within the             with DHS’ information sharing practices.140 Although
election community has continued to be mixed. In                  DHS officials testified in June 2017 that Russia targeted
June, DHS announced it was “beginning the formal                  voting systems in 21 states, for example, it did not notify
process of engaging election officials on an ongoing              state election officials whether their election systems
basis around the country” by participating, alongside             were targeted until late September, almost a year after
the FBI and EAC, in the NASS annual conference.137                the election.141
At that conference, DHS sought to provide clarity
                                                                  In part, DHS attributed these information sharing
about the designation and announced that DHS
                                                                  challenges to the nature of its existing information
was “expanding its efforts to ensure state and local
                                                                  sharing channels and reporting structures within each
election officials can access the sensitive data, cyber
                                                                  state.142 As a general rule, DHS shares threat information
tools and threat assessments they need to lock down
                                                                  at the state level through state Homeland Security
their voting systems prior to the 2018 elections.”138
                                                                  Advisors, Fusion Centers, CIOs and other agents of the


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state Governor.143 Each state government is organized        and Vulnerability Assessments.147 These delays render
differently but, for the most part, Secretaries of State     the benefit useless in light of the compressed time
and other chief election officials are independently-        frame of an election cycle.
elected officials who do not report to the Governor and
                                                             DHS has also struggled to build relationships with and
exist outside the executive branch chain-of-command.
                                                             communicate information to the close-knit elections
As a result, information shared by DHS did not
                                                             community.148 For instance, despite DHS being fairly
automatically flow to them under existing information-
                                                             open that it is not the subject matter expert on election
sharing relationships.144
                                                             administration, it is currently serving as the SSA for
The separation of voting systems from state networks         the Elections Subsector. Although EAC has a breadth
that operate within a governor’s chain-of-command            of expertise and long-standing relationships within
has another important implication. Because of their          the elections community, DHS has historically selected
political independence, Secretaries of State and election    executive agencies to serve as SSAs because it preserves
directors often maintain their own networks, instead of      the executive prerogative to direct and guide the SSAs
relying on the statewide networks that support other         activities. The EAC is an independent agency and,
state agencies. These statewide networks are generally       accordingly, does not operate under direction from the
protected by DHS-provided sensors, known as Albert           president. This is a challenge for DHS, which lacks both
sensors, which are deployed to entities that participate     institutional knowledge about election administration
in the MS-ISAC to monitor web traffic and detect             and connections within the small, close-knit elections
malicious activity. As a consequence, depending on the       community. As a result, DHS has leaned heavily on
governance model in a given state, these DHS sensors         EAC for technical expertise and goodwill with elections
may not have been monitoring the state’s election-           stakeholders and is working with EAC to finalize the
related networks. Traffic from Albert sensors feeds into     terms of a Memorandum of Understanding or other
the MS-ISAC, giving DHS some visibility into malicious       instrument that would formalize the agency’s role in
activity on the statewide network – but not necessarily      subsector activities.
the separate networks that support voting systems.
                                                             Compounding existing challenges related to its election
The elections community also struggled to reconcile          infrastructure responsibilities, DHS officials have
the benefits DHS promoted as part of the critical            testified that they are struggling to meet the surge in
infrastructure designation and the timeliness with           demand for these services since the designation, and
which these services could be delivered. For instance,       the Office of Cybersecurity and Communications
although DHS promised access to classified intelligence      is diverting resources from other programs to meet
and other information about threats, election officials      demand.149 Additionally, although DHS’ September
quickly learned that they would first need to undergo        2017 outreach effort to provide state election officials
a lengthy security clearance process.145 Although DHS        information regarding whether their infrastructure
assured state representatives that the clearance issue       was targeted appeared to be well-executed, some states
was being worked out internally, DHS has only begun          ultimately questioned the veracity of the information
the clearance process for state election officials and       DHS provided.150 The following week at least two
was slow to communicate the process for requesting           states reported that DHS had clarified that the targeting
a clearance.146 Election officials also had difficulty       occurred against other state networks, not elections
squaring DHS’ offer of ‘priority access’ to services with    systems. DHS maintained that Russian actors could
the nine month waiting list for certain services like Risk   have scanned other state systems in an effort to find



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vulnerabilities that could be used to breach election          Council (EGCC) held its first meeting in October and
systems.151 Whatever the reason, these communications          plans to use the forum to address governance and
hiccups undermined DHS’ efforts to build trust within          information-sharing protocols.155 The Subsector plans
the elections community.                                       to begin convened the first Sector Coordinating Council
                                                               in December 2017, and will meet again in January 2018.
To address these deficiencies, DHS officials say
they are engaging in “unprecedented outreach” to               The Department has also acknowledged the urgency of
“[enhance] awareness among election officials, [educate]       addressing information sharing challenges and, although
the American public…develop information sharing                they have not committed to a specific strategy for
protocols and establish key working groups to address          disseminating information to election officials, they are
these challenges.”152 DHS is also reportedly planning          conducting a pilot with the MS-ISAC and a sample of
to dedicate more resources to election cybersecurity by        states. DHS also hopes the elevation of election security
elevating DHS’ elections work out of the NPPD and              operations to a Department-wide task force will make
into a new Department-wide Task Force.153                      it easier to dedicate resources and expedite access to
                                                               cybersecurity services.
PATH FORWARD
                                                               Overall, DHS officials have emphasized the
                                                               Department’s commitment to the election security
    “[Election security] is my top
                                                               mission. Testifying before a Congressional
     priority at the Department. [If ]
                                                               Subcommittee, the Senior Official Performing the
     we can’t do this right, if we can’t
                                                               Duties of the Under Secretary of NPPD stated
     dedicate every single asset we
                                                               that: “[Election security] is my top priority at the
     have to assisting our state and
                                                               Department. [If] we can’t do this right, if we can’t
     local partners, then frankly…I
                                                               dedicate every single asset we have to assisting our state
     am not sure what we are doing
                                                               and local partners, then frankly…I am not sure what
     day-to-day…we are prioritizing
                                                               we are doing day-to-day…we are prioritizing delivery
     delivery of those briefings,
                                                               of those briefings, information sharing to our state
     information sharing to our state
                                                               and local partners…That for me is the No. 1 priority
     and local partners…That for me
                                                               for NPPD from a critical infrastructure perspective…
     is the No. 1 priority for NPPD
                                                               We cannot fail there.”156 DHS should continue to
     from a critical infrastructure
                                                               partner with the EAC, an agency that has longstanding
     perspective…We cannot fail
                                                               relationships with state and local officials, to work to
     there.”
                                                               build trust with state and local election officials.
                         -Christopher C. Krebs,
         Senior Official Performing the Duties
         of the Under Secretary of NPPD154

Although DHS has struggled to build trust with
Secretaries of State and other entities within the
close-knit election administration community, the
Department is beginning to make progress executing its
responsibilities associated with the critical infrastructure
designation. The Elections Government Coordinating


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STATE AND LOCAL GOVERNMENT

                                                              States and localities have taken a variety of steps to
     There are nearly 7,000 election
                                                              secure their elections – many states have replaced
     jurisdictions and over 100,000
                                                              paperless voting machines, hired IT staff, and regularly
     polling places in the United States.
                                                              backup their voter registration databases.161 States and
                                                              localities expend significant resources to make sure that
The Constitution gives states broad authority to              eligible voters are able to exercise their fundamental
determine the “times, places, and manner of holding           right to vote. The CalTech/MIT Voting Technology
elections” and gives Congress the authority to “make or       project estimated that the 2000 election cost states
alter” state election regulations.157 In practice, election   and localities $1 billion dollars to administer, or
administration in the United States is decentralized.         approximately $10 for each ballot cast.162 The federal
States and localities are in charge of running elections,     government should protect this investment, and help
although Congress has passed legislation setting              states ensure that our elections are secure.
guidelines on voter registration and voting systems
                                                              Respecting that states run their own elections, the co-
through the National Voter Registration Act of 1993
                                                              chairs of the Congressional Task Force on Election
and the Help America Vote Act of 2002 respectively.
                                                              Security sent a letter on August 1, 2017 to the NASS,
Each state has a chief election official, and elections       the National Association of State Election Directors,
are often further decentralized with counties and             and the chief election official in each state, seeking
localities administering the election. There are nearly       information on where states could use assistance
7,000 election jurisdictions and over 100,000 polling         securing their elections. The letter solicited input from
places in the United States.158 States, and sometimes         the Secretary of State or chief election official on the
localities, purchase their own voting equipment and set       state’s: 1) top five goals and priorities for the federal
their own rules on registering voters, counting ballots,      government with respect to election security; 2) the
and conducting recounts.159 In addition, states are           challenges encountered in updating and securing
responsible for recruiting and training poll workers.         election systems; 3) how to make existing voluntary
Poll workers are on the front lines of elections, and         partnerships with DHS and the EAC most useful; and
serve as the link between election officials and voters.      4) what role Congress can play in securing elections. A
They often receive low pay and limited training, but          summary of the key findings from our survey and other
they are vital in ensuring that Election Day runs             conversations with election officials follows:
smoothly.160 States also devise and implement their own
security measures.




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                                                                                       Administering Elections




States Need Federal Funding                                    There is still over $300 million of HAVA funding that
to Bolster Security Efforts                                    remains to be appropriated, and Congress should act to
                                                               make those funds available to states. In a letter to the
                                                               Task Force, NASS has emphasized this point, “States
    “Congress needs to ensure that                             would clearly benefit from the appropriation of the
     sufficient federal funding is                             outstanding balance of federal HAVA funds to aid
     available for states to procure and                       them in ensuring that they have sufficient equipment,
     maintain secure voting equipment                          technical support, and resources to maintain a sound
     and increased security of all                             security posture for their computer-based systems.”168
     election systems. That needs to                           The Task Force recommends that the remaining HAVA
     be an ongoing commitment, and                             funding be used for states to replace paperless machines
     not the one-time infusions of                             with paper-based voting systems.
     resources.”
                                -Edgardo Cortés,
                                                               Congress Should Support
              Virginia Election Commissioner 167
                                                               the EAC and DHS
                                                               State election officials report that the EAC has been
The National Association of Secretaries of States, as          a valuable partner, and urged Congress to continue
well as every state that responded, highlighted the need       supporting the agency’s work.169 Though Republicans
for federal funds to assist states with safeguarding their     in Congress have made efforts to terminate the EAC,
election infrastructure. Specifically, most states indicated   state election officials in traditionally Republican states
that federal funds were needed to replace aging voting         have offered support for the Commission. Secretary
machines.163 In addition, respondents proposed several         Gale of Nebraska suggests “retaining the [EAC] to
other ways that additional funding could help improve          continue to provide election-related guidance and
their state’s election security including hiring an election   information to state and county election officials”
technology security officer,164 bringing in third party        and Marci Andino, the Executive Director of the
security firms to conduct vulnerability assessments,165        South Carolina Elections Commission recommends
and upgrading voter registration and election night            expanding the role of the EAC.
reporting systems.166
                                                               States also indicated that they found DHS’ services
Often, states and localities are unwilling or unable to        to be helpful, particularly the Risk and Vulnerability
provide funds for election infrastructure. Commissioner        Assessments offered by the agency. However, several
Edgardo Cortés told the Task Force of his experience           respondents indicated that it would be helpful if DHS
in Virginia where he tried unsuccessfully to get state or      could reduce the amount of time states must wait to
local funding for the replacement of paperless voting          receive an assessment.170 In addition, states suggested that
machines that he knew to be error prone and vulnerable         the partnership between DHS and election officials could
to cyberattack. He went on to say, “Congress needs to          be improved by providing security clearances in a timely
ensure that sufficient federal funding is available for        manner to at least one election official in each state.171
states to procure and maintain secure voting equipment
                                                               Finally, several states told us that it would be useful for
and increased security of all election systems. That
                                                               the federal government to provide more guidance on
needs to be an ongoing commitment, and not the one-
                                                               voting system standards and best practices for securing
time infusions of resources.”167
                                                               and auditing both cyber and physical assets.

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Administering Elections




The Task Force has seen a great deal of support for                  provide vital and necessary resources for states and
these recommendations beyond the responses we                        counties to meet the growing security demands of
received from state election officials.                              administering elections.”172 The letter went on to say that
                                                                     NACO also strongly supports the work of the EAC.
The National Association of Counties (NACO) wrote
a letter to Senator Mitch McConnell, Senator Chuck                   In addition, ten Secretaries of State wrote to Senator
Schumer, Senator John McCain, and Senator Jack                       John McCain and Senator Jack Reed in support of
Reed, urging that they support S.A. 656 (“Klobuchar-                 Klobuchar-Graham. The letter was signed by both
Graham”) that would have provided funding to states                  Republican and Democratic Secretaries who wrote,
and localities for election security. NACO writes,                   “This amendment would provide vital and necessary
“Counties are on the front lines of administering the                resources to support the growing technology and
nation’s elections, and county election officials must               infrastructure security demands of our nation’s
address security issues daily. This amendment would                  elections.”173




                                                                                                                Paper Ballot


                                                                                                                All Vote By Mail


                                                                                                                Paper Ballot and
                                                                                                                Punch Card
                                                                                               VT
                                                                                                                Mixed Paper Ballot and
                                                                                               NH               DREs with VVPAT

                                                                                               CT               Mixed Paper Ballot and
                                                                                                                DREs with and without
                                                                                                RI              VVPAT

                                                                                                NJ              Mixed Paper Ballot and
                                                                                                                DREs without VVPAT
                                                                                               DE

                                                                                               MD               DREs with VVPAT

                                                                                               DC
                                                                                                                DREs with and without
                                                                                                                VVPAT

 DRE: Direct Recording Electronic Voting Machines
 VVPAT: Voter Verified Paper Audit Trail Printers                                                               DREs without VVPAT
 BMD: Ballot-Marking Device or System


This map shows the types of polling place equipment used across the country as of November 2016. Many states continue to use
DRE and VVPAT technology that does not leave a reliable, auditable paper trail.
Verified Voting. “The Verifier – Polling Place Equipment – November 2016.” Verified Voting, https://www.verifiedvoting.org/verifier/




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OUR ELECTION INFRASTRUCTURE IS VULNERABLE
The Help America Vote Act (HAVA) gave states over $3            machines begin to break down, election officials are
billion dollars to upgrade and modernize their election         sometimes unable to find replacement parts as some
infrastructure in the wake of the 2000 presidential             parts are no longer manufactured.179 As a result,
election. Because of this investment in our election            election officials are turning to stop-gap measures like
infrastructure, over 850 million ballots have been cast         stockpiling replacement parts or buying necessary parts
in federal elections since 2000.174 For $3.50 per ballot,       from eBay.180
the federal government was able to ensure that eligible
                                                                In addition to the hardware vulnerabilities, many of
citizens could exercise their right to vote.
                                                                these aging machines are running unsupported software.
However, the lifespan of much of the hardware and               These machines rely on operating systems like Windows
software that was purchased with HAVA funding is                XP or Windows 2000 which pose a particularly
between ten and fifteen years, and many jurisdictions           significant security risk as those operating systems either
are now using equipment that is nearing or past its             do not receive regular security patches, or have stopped
useful life.175 States and localities need federal assistance   receiving support altogether.181
to invest in modern, secure election infrastructure.
                                                                Some will defend the security of election systems by
Congress should help immediately. HAVA authorized
                                                                arguing that voting systems are secure because they are
$3 billion to be spent on election infrastructure, and
                                                                not connected to the internet. However, many voting
approximately $300 million remains to be appropriated.
                                                                machines contain software or hardware that could be
Those funds should be appropriated so states can begin
                                                                used to connect to the internet.182 In addition, many
to replace their most vulnerable voting systems.
                                                                machines use removable memory cards or USB sticks
                                                                to program their machines with ballot data, and it is
Voting Machines                                                 possible to infect a memory card with malware that
                                                                could crash a machine or alter vote totals.183 A hacker
The Task Force’s research and interviews unequivocally
                                                                could exploit the memory card vulnerability in a few
show that many jurisdictions are using voting machines
                                                                different ways. First, an attacker could physically access
that are highly vulnerable to an outside attack. Forty-
                                                                the machines. While this may seem unlikely, voting
two states are using voting machines purchased more
                                                                machines are sometimes left unattended in polling
than ten years ago.176 Old machines are susceptible to
                                                                stations in the days leading up to an election.184 A
“vote-flipping” (i.e., when a voter presses Candidate A’s
                                                                greater threat, however, comes from outside vendors.
name, but Candidate B’s name is selected on screen)
                                                                The Brennan Center reports that a relatively small
and crashing which can sow doubt in voters’ minds and
                                                                number of outside vendors can be responsible for
give the impression that an election is being rigged.177
                                                                programming the memory cards for multiple counties
Though many election officials would like to replace
                                                                in a state.185 For example, according to Professor
these machines, few have the money in their budgets
                                                                J. Alex Halderman, Director of the University of
to purchase new machines.178 At the same time, when


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Michigan’s Center for Computer Security and Society,           tabulating correctly.192 Moreover, in the process of
“In Michigan, 75% of counties use just two 20-person           implementing risk-limiting audits (described below),
companies to do that programming.”186 As discussed             Colorado has found that VVPAT systems create
below, outside vendors are not subject to any federal          significant logistical hurdles and are much harder to
regulatory requirements that would ensure they use             audit than paper ballots.193 As a result, several experts
cybersecurity best practices.                                  we spoke to believe that the VVPAT machines should
                                                               be phased out as well.194
Given the breadth of security risks facing voting
machines, it is especially problematic that                    The ease with which our voting machines can be
approximately 20% of voters are casting their ballots          hacked was demonstrated in July at DefCon, one
on machines that do not have any paper backup.187              of the world’s largest, longest-running, and best-
These voters are using paperless Direct Recording              known hacker conferences. DefCon featured a Voting
Electronic (DRE) machines that have been shown over            Machine Hacking Village (“Voting Village”) which
and again to be highly vulnerable to attack. Because           made 25 pieces of election equipment, including
these machines record votes on the internal memory             paperless electronic voting machines, available
of the machine, and do not leave any paper backup, it          to hackers. The organizers of the Voting Village
is near impossible to detect whether results have been         report, “By the end of the conference, every piece
tampered with.188 In fact, in September of this year,          of equipment in the Voting Village was effectively
Virginia decertified its DRE machines because of the           breached in some manner. Participants with little
security risks they present.188 In addition, a group of        prior knowledge and only limited tools and resources
over 100 computer scientists and cyber experts wrote           were quite capable of undermining the confidentiality,
to Congress asking that paperless DRE machines be              integrity, and availability of these systems.”195
phased out of use.190 Paperless DRE machines are
                                                               The best way to determine whether a machine has been
still in use in thirteen states, and the Brennan Center
                                                               hacked, or mis-programmed, is to conduct a post-
estimates that the cost to replace these machines
                                                               election, risk-limiting audit. Currently, 33 states and the
would be between $130 and $400 million.191 This
                                                               District of Columbia require post-election audits of
estimate would only cover paperless DRE machines
                                                               paper records; however, many experts note that many
and does not include the cost of replacement of the
                                                               of those audits are insufficient to determine whether
DREs with a voter-verified paper audit trail (VVPAT)
                                                               election results were tampered with.196 Instead, experts
described below.
                                                               recommend that states implement risk-limiting audits.
Some DRE machines have a VVPAT that allows voters              A risk-limiting audit is a process that involves hand
the opportunity to review a printout of their selections       counting a certain number of ballots, using advanced
before casting a ballot. However, the VVPAT system             statistical methods, to determine with a high degree of
has two flaws. First, voters are unlikely to actually review   certainty that the reported election outcome is accurate.
the paper record to make sure it is accurate. Second,          The number of ballots that are counted by hand is
votes are still recorded on the internal memory of the         determined by many factors, including the margin of
machine. That means a hacker could infect the machine          victory in the election. If the initial count determines that
in a way where the paper printout reflects the voter’s         the election results are accurate, the audit stops. If the
actual preference, but the machine’s internal memory           initial count is insufficient to confirm the election result,
records a different vote. In other words, the printout         a larger sample of ballots is hand counted. This process
does not necessarily verify whether the machine is             continues until the election results can be confirmed. If



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there is never enough evidence to confirm the election       attackers successfully changed voting records in Illinois,
results, a full hand count would be conducted.197            voters would have arrived at the polls on Election Day
                                                             to discover that they were not registered. This could
Robust, statistically sound, post-election audits would      lead “scores of voters to cast provisional ballots, leading
enable election officials to detect any incorrect election   to long lines, undermining faith in the fairness of an
outcomes.198 When testifying before the Senate               election, and creating a major administrative headache
Intelligence Committee earlier this year, Professor          to accurately count votes after the polls closed.”208
Halderman stated that, “By manually checking a relatively    Alternatively, an attacker could add fake voters to the
small random sample of the ballots, officials can quickly    rolls, allowing for fraudulent votes to be cast.
and affordably provide high assurance that the election
outcome was correct.”199 According to Professor              States take many steps to secure their voter registration
Halderman, currently only New Mexico and Colorado            systems. Almost all states make a daily, offline copy of
are conducting such audits,200 though Rhode Island           the statewide voter registration database.209 In addition,
recently passed legislation providing for post-election      states and counties each keep lists that can be used
risk-limiting audits beginning in 2018 and requiring post-   as backup for one another in the event of a breach.
election risk-limiting audits beginning in 2020.201          Numerous states took advantage of DHS “computer
                                                             hygiene” screenings in advance of the 2016 election,
                                                             and states are continuing to work with DHS and utilize
Voter Registration Databases                                 the Department’s services as election infrastructure is
HAVA requires states to create and maintain a statewide,     now a “critical infrastructure” sector.
computerized voter registration database.202 According
to the Brennan Center, in at least 41 states, these
systems were created at least ten years ago.203 The 2016     Decentralization
election has shown us that these systems are vulnerable      The decentralization of American elections is both
to attack. The Department of Homeland Security               a strength and a challenge in this space. Because of
found that Russian hackers targeted these systems in         the decentralization, some argue that a hacker cannot
21 states.204 In Illinois, Russian hackers successfully      have one successful breach and then access the entire
breached the databases and attempted, but failed, to         country’s voting records. While there is certainly
alter and delete voting records.205 In Arizona, hackers      truth to that contention, there are ways in which our
were able to successfully install malware on a county        system is less decentralized than commonly thought.
election official’s computer. That gave the hackers          First, the election technology industry is increasingly
access to the official’s credentials which could have then   consolidated with just a few firms serving most of
been used to get into the county’s voter registration        the country.210 Second, there are considerable supply
database.206 In addition, hackers targeted at least one      chain vulnerabilities as many machines have foreign-
election vendor with the hope of ultimately obtaining        made internal parts.211 A report on the DefCon Voting
access into voter registration databases.207                 Machine Hacking Village states, “[A] hacker’s point-of-
                                                             entry into an entire make or model of voting machine
The most significant threat posed by vulnerable voter        could happen well before that voting machine rolls off
registration databases is that an attacker could alter,      the production line. With an ability to infiltrate voting
delete, or add voter registration records which would        infrastructure at any point in the supply chain process,
then cause profound chaos on Election Day and                then the ability to synchronize and inflict large-scale
potentially change the results of the election. Had the      damage becomes a real possibility.”212


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Having nearly 7,000 election jurisdictions means that          strengthening their networks. While some election
each of those needs to have strong IT support to               officials are able to use state IT security experts to
prevent against attack. Several election officials told        harden their systems,221 in many other states, elections
the Task Force that they would greatly benefit from            are run off of a different network than the state
the federal government providing a centralized set of a        network, and state chief information officers are
guidance documents on cybersecurity best practices.213         reluctant to assist the elections officials if they are not
While the EAC provides guidelines for voting machines,         already existing customers of state IT.222 This means
they do not provide a similarly comprehensive set of           that election officials will need to hire their own IT staff,
guidance for voter registration systems.                       and many simply do not have the money. 223

In addition, states need better IT support and resources       While some in Congress may argue that states and
to help improve their cybersecurity infrastructure,            localities should fund these improvements, states
though several states have been able to make progress          are struggling to find that funding. In most states,
in these areas.214 In California, Governor Jerry Brown         legislatures are not increasing their election security
signed a law that will alert voters when their registration    budgets.224 In some cases, Governors are actively
has been changed.215 Colorado has added national               undermining election security efforts. In Florida,
guard security experts to its election team,216 and            Governor Scott’s budget proposed reducing the funding
Virginia recently created a digital security position.217 In   for the Division of Elections by almost one million
June, Governor Cuomo directed the New York State               dollars.225 In July, Governor Kasich vetoed a provision
Cyber Security Advisory Board to review the security           in Ohio’s budget that would have allocated one million
of New York’s election infrastructure.218 For the first        dollars towards voting equipment.226 Governor Walker
time, Arizona has updated its election official training       issued a partial veto to the state’s budget, and in doing
to include cybersecurity.219 In October, Rhode Island          so, eliminated five jobs from the Wisconsin Elections
Secretary of State Nellie Gorbea told the Task Force:          Commission.227 This issue is simply too important to
“In Rhode Island, I have increased my office’s IT staff        sit back and watch state governments and the federal
by 40% to ensure that we have the technical expertise          government pass responsibility back and forth. A
in-house necessary to respond to the ever-shifting             sovereign nation attacked 21 states, and the federal
landscape that technology presents.”220                        government should provide the funds necessary for
                                                               states to defend themselves.
However, states still face several challenges when
it comes to hiring the necessary IT staff and




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STATE AND LOCAL GOVERNMENTS NEED FEDERAL SUPPORT
TO REPLACE OBSOLETE ELECTION SYSTEMS
There is no question that securing election                        The crisis-to-crisis model of federal investment in
infrastructure and preserving public confidence in                 election infrastructure and security capabilities has
election outcomes are the top priorities of state and              resulted in avoidable vulnerabilities in our elections
local elections officials. It is also clear that these officials   systems. Despite being well-aware that outdated election
are aware that much of the technology upon which                   systems must be replaced, state and local budgets are
they rely to administer elections is outdated or obsolete          already stretched thin. If Congress expects State and
and must be replaced. That much has been made clear                local election officials to replace, maintain, and secure
by the NASS, former federal officials, and individual              election systems, it must help absorb both immediate
Secretaries of State. Moreover, it is similarly clear that         and long-term costs. This includes providing money for
the ability of state and local election offices to maintain        innovation grants that will help keep our election system
staff with relevant expertise to develop and implement             secure in the face of evolving threats.
cybersecurity programs necessary to secure election
systems is inconsistent across the nation.




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FEDERAL AGENCIES LIKE DHS AND EAC NEED RESOURCES
AND CONSISTENT SUPPORT FROM CONGRESS

Election Assistance Commission                               election night reporting systems.230 These documents
                                                             are easy to follow and great resources for state and local
The EAC provides a valuable service in issuing the
                                                             election officials. The EAC should work with experts
VVSG and in testing and certifying voting machines.
                                                             in cybersecurity and election administration to ensure
Despite these services being voluntary, nine states and
                                                             that these documents are up to date, and should work to
the District of Columbia require that voting machines
                                                             publicize the availability of these documents.
be tested to federal standards, seventeen states require
testing by a federally accredited lab, eleven require full   While many election officials we spoke with commented
federal certification, and four additional states refer to   on the EAC’s testing and certification program, the
standards set by federal agencies or standards.228 The       EAC can and should provide additional cybersecurity
most recent guidelines were adopted on March 31,             resources to states.231 Rhode Island Secretary of State
2015, and they are currently in the process of being         Nellie Gorbea emphasized that states are already in
updated. The updates currently under consideration           the habit of turning to the EAC for election related
would greatly improve election security by requiring         resources, “Every single time that we are looking
that machines have an auditable paper trail and that         at doing something in cybersecurity, in elections
voting machines provide mechanisms to detect                 administration, and improving things, we look at the
malicious activity.                                          EAC. Because they have all this information about what
                                                             is happening at the national level. We absolutely need
These security updates are sorely needed and will greatly
                                                             those resources there at the state and local level.”232 The
assist in safeguarding our voting machines. The EAC
                                                             existing relationship between the EAC and state and
has indicated that they plan to adopt these guidelines
                                                             local election officials has led some officials to indicate
in the first half of 2018, but given the urgency of the
                                                             that they would like more guidance from the EAC.
issue, every effort should be made to expedite this
                                                             Virginia Elections Commissioner, Edgardo Cortés said,
process. However, it is important to note that these
                                                             “At a minimum Congress should empower and fund the
guidelines are prospective and will only affect machines
                                                             EAC to expand their current voluntary voting system
that are acquired after the guidelines are adopted.229 The
                                                             guidelines to include guidelines applicable to electronic
best way to ensure that states are using safe, reliable
                                                             poll books.”233 In addition, the EAC can provide request
voting machines is for Congress to provide funding to
                                                             for proposal (RFP) templates to help states ensure
help states replace old equipment with new machines
                                                             that their election technology vendors are prioritizing
that conform to the latest guidelines.
                                                             cybersecurity, and the EAC could create training
Creating standards for voting machines is a good             modules to assist states in providing cybersecurity
start, but it is not enough. As discussed elsewhere          education to election officials, IT staff, and poll workers.
in this report, the vulnerability of voter registration
databases and other election administration software
also present a significant threat, and it would be useful    Department of Homeland Security
if the EAC would provide assistance in these areas           DHS has resources it can bring to bear on securing
as well. The EAC makes available on its website a            elections, but there are some roadblocks to
checklist for securing voter registration databases and      overcome. As one DHS official noted before the



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Senate Intelligence Committee in June, “Addressing           deepening those relationships, identifying requirements,
cybersecurity challenges and helping our customers           and educating on our capabilities.”
assess their cybersecurity risk is not new for DHS.”234
                                                             Representatives from the elections community readily
Through NPPD, DHS can provide election officials
                                                             acknowledge how unique, small, and close-knit their
with cyber threat intelligence, vulnerability assessments,
                                                             stakeholder group is – and many aspects of the
penetration testing, scanning of databases and operating
                                                             environment they operate in do not apply in other
systems, and other cybersecurity services at no cost.
                                                             critical infrastructure sectors. For instance, election
Through these services, state and local election officials
                                                             officials operate on a strict timeline, and often cannot
can learn how to practice better cyber hygiene, make
                                                             make updates to voter registration databases and other
sure voting systems are operating securely and kept
                                                             systems for some window of time prior to an election.
offline and carry out routine vulnerability assessments
                                                             In addition, officials are frustrated by the fact that they
on voter registration databases. DHS can also help
                                                             have to wait nine months to receive a service for which
states carry out comprehensive risk assessments on a
                                                             they are entitled ‘priority access.’
regular basis.
                                                             Where DHS has rendered assistance, officials report
Some of the hurdles DHS experienced before and
                                                             that cyber hygiene scans and other services are valuable;
after the 2016 election are inherent in the challenge of
                                                             however, because these services are voluntary, DHS’
standing up a new sector and learning to communicate
                                                             ultimate success depends on its ability to build trusted
with a new stakeholder community. As the DHS
                                                             partnerships with state and local election officials.
Assistant Secretary for Cybersecurity & Communications
                                                             Elections are cyclical, and DHS needs adequate
testified in June, “[H]istorically, DHS has not had active
                                                             resources to carry out its election security activities
engagement directly with the state and local election
                                                             without further depleting the goodwill it has in the
community, so we’re working on broadening and
                                                             elections community.




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ELECTION VENDORS ARE UNREGULATED TARGETS
Many states utilize third party vendors to provide their    House Permanent Select Committee on Intelligence
election technology software and hardware. States           in November, the propaganda was far-reaching –social
utilize vendors to create and maintain the statewide        media companies revealed that Russian agents spread
voter registration database that they were required to      Facebook posts that reached 126 million people,
create under HAVA, and they purchase voting machines        uploaded more than 1,000 videos to YouTube, and
and accompanying software from outside companies            sent more than 131,000 tweets. If the attack against
as well. Local election offices are unlikely to have any    election vendors had been successful and the hackers
internal IT staff, so election vendors often end up         were able to infect the computers of the local election
providing IT support as well.235 As demonstrated in the     officials, hackers may have been able to access state
2016 election, these vendors are a tempting target for      voter registration databases and alter or delete voter
hackers as breaching an election technology vendor has      registration records. At the very least, this could have
the potential to provide a hacker access to numerous        caused a great deal of chaos on election day. At worst,
election jurisdictions. Despite the risks associated with   hackers could have deleted registration records of
these third-party vendors, they are unregulated at the      voters inclined to voter for a certain candidate thereby
federal level.                                              swaying the results of the election.

A NSA document leaked to The Intercept highlights           There is no federal law that governs what steps election
the vulnerability presented by election technology          vendors must take to safeguard their systems from
vendors.236 The Intercept reports that Russia’s plan in     attack. Instead, any obligations that vendors are subject
2016 was to pose as an election vendor and email            to stem from the terms of their contracts with states
local election officials with the hope that the officials   and localities. The chief executives of VR Systems
would open an attachment containing malware.237             told the Task Force that their contracts did not have
In order to execute this plan, Russian hackers sent         any specific requirements on: 1) what cybersecurity
spear-phishing emails to an election software vendor.       practices must be followed and 2) when state and local
The NSA report indicates that at least one employee         election officials needed to be notified in the event of a
account was compromised, though the targeted vendor,        cyberattack.241 Nevertheless, before they were targeted
VR Systems, says that no employee accounts were             by the Russians, VR Systems did expend resources on
compromised.238 Russian hackers went on to pose as VR       cybersecurity. Once the company became aware of
Systems employees and send over 100 emails to local         the suspicious activity, they notified the FBI and their
government email addresses.                                 clients. Since the election, the company has redoubled
                                                            their efforts, enlisting a private security firm to help
This was one of several tactics used by the Russians        them harden their systems.242 However, absent any
in their multifaceted campaign to sow doubt about           regulation in this area, there is no way to know whether
the democratic process.239 In addition to attempting        other third-party vendors would also have notified
to hack in state and local election systems, the            election officials and clients about a cyberattack.
Russians also conducted cyber espionage against the         More importantly, instead of approaching election
Democratic National Committee and key personnel
                                                            technology vulnerabilities as a national security issue,
in the Clinton campaign, and launched a propaganda          we are allowing companies to determine for themselves
campaign utilizing Facebook, Twitter and other social       whether it is in their financial best interest to be
media to exacerbate divisions and undermine faith           concerned with cybersecurity.
in democracy.240 According to testimony before the


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According to a recent study put out by the Penn              technology industry means that “there is no meaningful
Wharton Public Policy Initiative, the election               competitive pressure from the suppliers to the
technology industry is dominated by three firms whose        vendors.”247 In other words, there is no incentive for
products cover approximately 92% of the total eligible       election technology vendors to prioritize security. This
voter population.243 These firms are neither publicly nor    problem is compounded by the lack of regulation in this
independently held which limits the amount of publicly       area. These vendors are not required to make financial
available information available about their operations.244   disclosures to the Securities and Exchange Commission.
Smaller companies routinely get bought out and merged        The executives are not required to disclose political
with one of the three larger companies, and biggest          contributions to the Federal Elections Commission.
tech companies, including Apple, Dell, IBM, HP, and          State and local contracts do not necessarily require
Microsoft have chosen to stay out of the election            vendors to notify election officials in the event of
technology business.245 This may in part be because the      a cyberattack. Under current law, there is no way to
sector generates approximately $300 million in annual        ensure that vendors are doing everything possible to
revenue, a relatively modest amount when compared to         keep their systems secure.
the revenue of the largest technology companies. For
                                                             The Task Force believes this must change. States and
example, Apple generates about $300 million in revenue
                                                             counties must hold vendors accountable and ensure
every 12 hours.246
                                                             that they are prioritizing election security. The EAC
Currently, election technology vendors present serious       should provide RFP templates that include language
security risks. The consolidation in the election            on cybersecurity practices and incident notification.




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States and localities should include such language in        efforts to meddle in the 2016 elections, re-opening
their RFPs, and seek to include security provisions in       questions about the validity of their assessment as
their existing contracts. Alternatively, the EAC could       recently as November 2017.248 These actions indicate
put forth a set of standards for election vendors to         the Trump Administration is failing to take the threat
follow and then certify vendors who are following            to election infrastructure and democratic institutions
best practices, similar to the testing and certification     seriously. Moreover, although the recently-released
program the Commission administers in the voting             National Security Strategy refers to Russia’s influence
machine context.                                             operations, it is unclear how the Administration plans
                                                             to ensure the security of U.S. election infrastructure
                                                             going forward.
Election Security is National Security
Russian interference in the 2016 Presidential election was
a watershed moment in our democracy. By weaponizing          Election Infrastructure is
the information we consume, eroding confidence in our        Critical Infrastructure
political institutions, and pressure-testing the equipment   Federal law defines critical infrastructure as systems
we use to cast our ballots on Election Day, the Kremlin      and assets for which “incapacity or destruction …
was able to use the democratic process as an attack          would have a debilitating impact on security, national
vector. Securing this new and novel attack vector will       economic security, national public health or safety,” or
require a novel approach.                                    any combination thereof. For infrastructure designated
                                                             critical, DHS offers priority access to cyber threat
After the 9/11 terrorist attacks, the nation had to
                                                             intelligence, incident response, technical assistance,
confront the difficult reality that the attacks might have
                                                             and other products and services to help owners and
been prevented with better information sharing and
                                                             operators harden their defenses.
more robust interagency collaboration. We struggled
to balance the need to protect information while also        It is hard to imagine a system failure that would inflict
empowering the right agencies to act in the face of          more damage than a foreign adversary infiltrating
threats. We had to overcome an initial reluctance to         our voting systems to hijack our democratic process.
share turf with new partners and move past fears of          However, the decision to designate a critical
reputational damage. It was nevertheless clear that          infrastructure sector or subsector ultimately falls to the
the threat landscape had changed, and our security           Secretary of Homeland Security. This summer, former
framework needed to change with it.                          Secretary of Homeland Security John Kelly wavered
                                                             on his earlier commitment to honor his predecessor’s
The threat landscape has once again shifted, exposing
                                                             designation. Although Secretary Kirstjen Nielsen
new cracks in our existing security framework
                                                             has said she will maintain the designation, she is not
and causing another set of turf wars. The Obama
                                                             obligated to do so.
Administration worked proactively to assist state and
local governments secure their election systems and,         Defining election systems as critical infrastructure
in January, declared election infrastructure a critical      means these systems will, on a more formal and
infrastructure subsector. Unfortunately, the Trump           enduring basis, be a priority for DHS cybersecurity
Administration’s commitment to election security is          assistance. These services are an important force
less clear. The President continues to waffle on the         multiplier, especially at the state and local level, where
Intelligence Community’s conclusions regarding Russian       resources are scarce.



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Russia Will Continue its Efforts to                          U.S. election, these efforts by Russian hackers were
Undermine Western Democracies, and                           aimed at skewing the results, sowing discord, and
                                                             undermining public faith in the media, government
Sophisticated, State-sponsored Actors
                                                             institutions and the democratic process itself. Russia has
Will Continue to Pursue Cyberattacks
                                                             established a consistent pattern of conducting new and
As former Under Secretary for NPPD Suzanne                   aggressive attacks on election infrastructure, particularly
Spaulding observed: “Russia is engaged in a long-            in the United States and Europe.254 These efforts are
term effort to undermine democracy both tactically           part of Russia’s larger strategy to undermine trust in
to weaken the west and strategically to reduce liberal       our democracies, and are also likely part of a broader
democracy’s appeal not just in the United States but. . .    attempt to divide Europe from America, and to weaken
around the world where Russia competes for influence         both NATO and the European Union.255 There is no
and power.”249                                               evidence that Russia will forfeit the capabilities they
                                                             have spent decades crafting and cease these efforts.
Russia has a long history of using cyberattacks and
                                                             Moreover, security experts are warning that Russia may
cyber-enabled disinformation campaigns to target
                                                             turn to new frontiers like Mexico, which will elect more
political processes in other nations, adhering to a
                                                             than 3,000 government officials in July 2018.256
foreign policy built to leverage “the force of politics
as opposed to the politics of force.”250 By carrying out     In addition, other adversaries hostile to western
advanced influence operations, Russia is able to “punch      democracies could seek to replicate its election
above their weight” by “provid[ing] their relatively         interference campaign, many well-respected security
weak economy and insecure political institutions with        experts have warned.257 Possible nation-states that
a strategic and tactical advantage to affect significant     could exploit vulnerabilities in our elections also include
political outcomes abroad.”251 The advent of social          North Korea, Iran, and China.258 Any of these scenarios
media and data analytics have allowed Russia a new           would be catastrophic – if only for the damage it would
forum to alter the course of events by manipulating          do to public confidence.
public opinion.252
                                                             The federal government needs a better understanding
The United States is also not Russia’s only target. Russia   of how Russian efforts to interfere in the 2016
orchestrated politically-motivated cyber campaigns in        Presidential election fit into its larger global agenda, and
the Netherlands, France, Germany, Bulgaria, Estonia,         a strategy to protect our democratic institutions from all
Austria, and two Ukrainian presidential elections in         hostile actors going forward.
2004 and 2014, a decade apart.253 Similar to the 2016




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Federal Funds Should be Provided to Help                       Of the voting systems in use today, experts agree that
States Replace Aging, Vulnerable Voting                        the most secure voting system is one where a voter
Machines with Paper Ballots                                    marks a paper ballot, and the ballots are then counted
The most urgent need is to replace all DRE machines.           by an optical scanner machine. Though optical scanner
There are two types of DRE machines in use: 1)                 machines are not wholly immune from cyberattacks, a
paperless machines and 2) those equipped with a                paper ballot filled out by a voter produces an auditable
VVPAT. Both types of machines present significant              paper trail that can easily detect attacks.263
security risks as the DRE systems store voting records
in the machine’s internal memory. Paperless systems            Jurisdictions must also be sure to comply with HAVA
make it impossible to practically detect whether there         and ensure that disabled voters have access to voting
has been tampering with an election’s results. Though          systems that enable them to vote privately and
the VVPAT systems purport to leave a paper audit               independently. For example, some states use ballot-
trail by providing a receipt or printout of a voter’s          marking devices to ensure that their voting systems
selections, the voter record that gets tabulated still lives   are accessible. A ballot-marking device is a tablet or
in the machine’s internal memory. This means that the          laptop that does not have internet connectivity and is
printout the voter receives does not necessarily indicate      hardwired to an off-the-shelf printer and produces a
whether the vote will be tabulated correctly. Thus, the        paper ballot. In New Hampshire, these ballot-marking
auditability provided by the voter-verified receipt is of      devices are being used along with software that has been
little value. Twenty-four states use DRE machines –            tested by voters who cannot see or hear and by voters
fourteen use paperless DREs and an additional ten use          who cannot use their hands.264 Such a device allows
VVPAT systems.259                                              voters to cast their ballot privately and independently
                                                               while also producing an auditable paper record.
There is widespread consensus that these machines
need to be replaced, with emphasis on the need to              Election administrators agree that they need to replace
replace paperless DREs, and that they should be                their aging voting machines, but many say they cannot
replaced with paper ballots. A letter from over 100            act because they do not have the necessary funds.
computer science and cybersecurity experts was sent            South Carolina is one of the five states that relies
to every Member of Congress in June 2017 with                  exclusively on paperless DREs, and a spokesman for
recommendations on securing election systems. The              the South Carolina Election Commission recently
first recommendation was to phase out paperless DRE            told the New York Times, “We’re using the same
machines.260 If there was any remaining doubt, DefCon’s        equipment we’ve used since 2004. If $40 million
voting village showed the country just how easy it is to       dropped into our hands today, we’d have a paper ballot
breach paperless DRE machines.261 In interviews with           trail, too.”265 In a recent Politico survey, 21 of 33
the Task Force, many election cybersecurity experts            respondents want the federal government to authorize
stated that VVPAT systems pose significant security risks      funds for states to spend on replacing voting machines
and should be replaced as well.262                             or otherwise strengthening election security.266 In
                                                               response to the letter sent out by the Task Force to



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the chief election official in each state, four states        of ballots. This goes on until the auditor can determine
(Minnesota, Nebraska, Illinois, and Pennsylvania)             with certainty that the election result was accurate. If
of the National Association of Secretaries of States          the evidence never becomes strong enough to support
expressed a desire for Congress to appropriate funds          that conclusion, a full hand count will be conducted.271
to help states replace aging voting equipment.267
                                                              Because of the use of sophisticated statistical methods
The Brennan Center estimates that the cost to replace         and the iterative process, risk-limiting audits provide an
paperless DREs would be between $130 and $400                 efficient and cost-effective way to verify election results.
million. However, that figure does not include the            Professor Halderman estimates that the cost of running
additional cost associated with replacing VVPAT systems.      risk-limiting audits nationally for federal elections would
                                                              be less than $20 million a year.272
Congress has money available that they could use to
help states replace their old machines. HAVA authorized       According to Professor Halderman, currently, only
$3 billion to meet the statute’s requirements, and over       two states, New Mexico and Colorado, “conduct audits
$300 million remains to be appropriated.268 Congress          that are robust enough to detect cyberattacks.”273
should act immediately to allow states to use this money.     Rhode Island recently passed legislation providing for
                                                              risk-limiting audits begin in 2018 and post-election
States Should Conduct Risk-Limiting                           risk-limiting audits in 2020.274 Election security experts
Post-Election Audits                                          agree that all states should be routinely conducting these
While we can and should do everything possible to             audits to detect any anomalies in election results and to
prevent an attack from taking place, the best way to          increase the public’s confidence in elections.275
determine with a high degree of certainty, whether
an attack has taken place, is for states to conduct           Federal Funds Should be Provided to Help
mandatory, routine, risk-limiting post-election audits.       States Upgrade and Maintain IT Infrastructure,
A statistically sound post-election audit would enable        Including Voter Registration Databases
states to determine that the original vote count was          Russia’s targeting of 21 states’ voter registration systems,
substantially accurate. These audits are useful in            and the successful breach of the Illinois database, makes
detecting any incorrect election outcomes, whether            abundantly clear that our voter registration systems are
they are caused by a cyberattack or something more            vulnerable. Fortunately, the hackers’ attempts to alter
mundane like a programming error. Moreover,                   and delete records were blocked, but they had access
conducting these audits as a matter of course increases       to the Illinois voter files for almost three weeks before
public confidence in the election system.269                  their activity was detected.276 Russian hackers also came
                                                              close to accessing a statewide voter registration database
A risk-limiting audit involves hand counting a certain        in Gila County, Arizona where an employee opened an
number of ballots to determine whether the reported           infected email attachment that then installed malware on
election outcome was correct.270 The initial number of        the employee’s computer.277 If any of these attempts had
ballots is determined by a number of factors, including       been successful, voting records could have been added,
the margin of victory in the contest – the larger the         altered, or deleted, and Election Day would be filled
margin of victory, the smaller the initial sample. If         with chaos. Just as significantly, such an attack would
the audit finds strong evidence that the result was           sow deep doubts about the integrity of our elections and
correct, the audit stops. However, if the initial sample is   American democracy. These close calls show that it is
insufficient to confirm the election result, there will be    crucial that states act now to upgrade and secure their
a second round of hand-counting with a larger sample          IT infrastructure.


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The first steps to securing voter registration databases      Congress has a role to play in helping states fund the
and other IT infrastructure is to replace outdated            purchase of newer, more secure election systems, and
technology and hire the necessary IT support. In at least     requiring such systems adhere to baseline cybersecurity
41 states, databases are at least a decade old, and threats   standards. Congress should direct DHS and EAC to
have evolved significantly since then.278 The problem         work together to define security standards for election
of an aging system is often compounded because many           equipment and appropriate the funding necessary to
jurisdictions relying on older, less secure software and      help state and local governments replace outdated
operating systems may also lack IT support. Election          voting systems.
administration systems are often run on a different
                                                              It is important to note that cyber threats evolve at a rapid
network than the rest of the state, and do not receive
                                                              pace, and a one-time lump sum investment is not enough.
support from the office of the Chief Information
                                                              States also need resources for maintenance and periodic
Officer.279 Many states report that they are unable to
                                                              upgrades, and cybersecurity training for poll workers
get the IT support they need, particularly at the local
                                                              and other election officials. Congress must establish a
level.280 Systems that are relying on antiquated software
                                                              mechanism to provide ongoing support to state and local
or operating systems should be modernized, and state
                                                              governments. One way to do that would be to reimburse
and local election officials should have the IT support
                                                              states for part of the cost associated with administering
they need.
                                                              federal elections by providing a flat rate per active
In addition, election administrators should follow            registered voter, as many states do when counties are
cyber-security best practices, including regular backups.     responsible for administering state ballot questions.
Several officials that spoke to the Task Force indicated
                                                              In addition, Congress should appropriate funds for
that it would be useful for DHS or the EAC to
                                                              innovation grants so that new technology can be
provide guidance documents that outline cybersecurity
                                                              developed to respond to the evolving threat landscape.
best practices.281

Many states are already implementing these                    Election Technology Vendors Must Secure
recommendations, and even more have started in the            Their Voting Systems
wake of the 2016 election.282 States are hiring new           Many states purchase their voting systems from a
technology support staff and upgrading their voting           third-party vendor. Those vendors have little financial
systems wherever possible. However, states need money.        incentive to prioritize election security, and there no
After conducting a survey of state election officials,        regulations requiring them to use cybersecurity best
where 21 out of 33 states indicated that they need help       practices. The Task Force recommends that the EAC
funding security improvements, Politico reported, “States     provide RFP templates that would require vendors to:
need money to upgrade digital voter registration systems      1) secure their systems, and 2) notify state and local
that alleged Russian hackers probed and infiltrated           officials in the case of a cyberattack. States and localities
in 2016. They need money to provide cybersecurity             should use this language in all future contracts, and seek
training to local county officials… And they need             to incorporate these requirements into their existing
money to adopt new post-election audit procedures that        contracts. In addition, election technology vendors
can detect vote tampering.”283                                should be required to inform EAC and DHS officials in
                                                              the event of a cyberattack.
We cannot ask our state and local election officials to
take on a state actor like Russia alone. Although states
and counties are largely responsible for elections,


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The Federal Government Should Develop                        Accordingly, the Intelligence Community should
a National Strategy to Counter Efforts to                    complete and provide to Congress and state and
Undermine Democratic Institutions                            local election officials an assessment of the full scope
The goals of Russian efforts to meddle in the 2016           of threats to election infrastructure 180 days prior
presidential election were not limited to promoting one      to federal election, together with recommendations
candidate or damaging another; they were an attempt          provided by DHS and EAC to address them. The
to undermine confidence in democratic institutions and       assessments should be unclassified, with the option
sow doubt in liberal democracies. As a former Under          of adding a classified annex, as necessary. To ensure
Secretary for NPPD warned, “We need to broaden               that state and local election officials have access to
our focus to the ways these measures undermine other         all information necessary to protect their election
fundamental pillars of democracy, including the press        infrastructure, the Department of Homeland Security
and our judicial system.”284                                 should expedite the clearance process for relevant
                                                             officials and/or provide one-day “read-in” clearances.
Past attacks of this magnitude have served as a catalyst
for major strategic changes and a re-orientation of
                                                             DHS Should Maintain the Designation of
federal policy. Our starting point is clear – we need a      Election Infrastructure as a Critical
strong, consistent rebuke from the White House. Next,        Infrastructure Subsector
we need the President to acknowledge that we need a          Defining election systems as critical infrastructure
“9/11-style” Commission to help identify the various         means election infrastructure will, on a more formal
ways in which the Russians are seeking to undermine          and enduring basis, be a priority for DHS cybersecurity
democracy and develop a plan to confront them.               services. These services are an important force
After the terrorist attacks of September 11, 2001, the       multiplier, especially at the state and local level,
National Commission on Terrorist Attacks Upon the            where resources are scarce. We have a rare window
United States (9/11 Commission) undertook this effort        of opportunity to promote the widespread adoption
to understand the full impact of this tragic event and       of common-sense security measures that protect the
resolve the gaps in our security framework.                  integrity of the ballot box. This is not the time to
                                                             diminish federal efforts or shut down important lines of
The Intelligence Community Should Conduct                    dialogue between DHS and election administrators.
Pre-Election Threat Assessments Well in
Advance of Federal Elections
                                                             Empower Federal Agencies to be
It is clear that efforts to disrupt the administration of    Effective Partners in Pushing out
elections are going to continue. To empower state and        Nationwide Security Reforms
local governments to secure their election systems and to    With midterm elections less than a year away, election
inform federal efforts to support them, there must be a      officials cannot afford to wait 9 months for valuable
current, complete understanding of the threat landscape.     cybersecurity services like Risk and Vulnerability
At the same time, state and local election officials must    Assessments. At the same time, Congress should
know of relevant intelligence related to efforts to target   not put DHS in the position of delivering election
elections with an adequate amount of time to assess          assistance at the expense of its other critical
vulnerabilities within their systems and networks and        infrastructure customers. DHS must conduct a
address them. Moreover, any threat assessment must be        comprehensive assessment of the funding, resources,
conducted sufficiently in advance of the election to avoid   and personnel it needs to deliver the services state and
the perception of political motivation.                      local elections officials request to secure their election



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infrastructure, and make a request to Congress. In          States Should Prioritize
turn, Congress must act and give DHS the resources it       Cybersecurity Training
needs to meet its obligations to state and local election   “Training the trainers” is a crucial component in
officials, as well as all critical infrastructure owners    securing elections. The events of 2016 demonstrate
and operators.                                              that human error is a significant vulnerability as it leaves
                                                            systems open to spear-phishing and other forms of
Similarly, Congress should fund EAC at a level              cyberattack. Election officials have told the Task Force
commensurate with its expanded role in election             that building the capacity of local election officials and
cybersecurity and confirm a fourth commissioner so          IT staff remains a challenge.285 Secretary Nellie Gorbea
the agency is able to continue to serve as a resource on    stated, “Our public sector employees and system at the
election administration.                                    state, county, and municipal level are ill-prepared to
                                                            handle the looming threat of cyberattacks.”286 States and
Establish Clear and Effective Channels
                                                            localities face the daunting task of training hundreds,
for Sharing Threat and Intelligence
Information with Election Officials                         if not thousands, of election officials, IT staff, and poll
Effective information sharing is critical to addressing     workers on cybersecurity and risk mitigation.
the decentralized threat that our nation faces in
                                                            It costs money for states to produce training materials,
terms of securing our elections. We have seen how
                                                            and takes staff time to implement statewide training
information sharing failures can cause catastrophic
                                                            programs. The federal government should provide
events prior to the 2016 elections. The 9/11 terrorist
                                                            training support either through the EAC or by
attacks exposed serious gaps in information sharing
                                                            providing funding to states to assist with their training
within the federal government and state and local law
                                                            programs. With additional resources, the EAC could
enforcement partners. It is imperative that election
                                                            produce templates for states to use, or could assist
officials have access to the most timely and high-
                                                            states in reviewing training materials created in-state. In
level security information. Chief election officials in
                                                            addition, the EAC is currently working with Harvard’s
each state should have expedited access to security
                                                            Belfer Center to develop a tabletop training which could
clearances. DHS needs a formalized process to provide
                                                            be useful to states looking to incorporate cybersecurity
real-time appropriate threat information to state and
                                                            education into their trainings.287 In the meantime,
local election officials to improve information flow and
                                                            states with resources to do so should follow the lead
help prevent intrusions in our election infrastructure.
                                                            of Secretaries of State who are taking action to raise
Additionally, DHS has experience helping non-
                                                            awareness about how to keep election infrastructure
traditional preparedness and response stakeholders
                                                            secure. Rhode Island Secretary of State Nellie Gorbea,
partner together to address evolving threats. The
                                                            for example, convened a meeting of federal, state, and
Department should leverage that experience, and
                                                            local officials, including more than one hundred of
provide states models for effective information sharing
                                                            Rhode Island’s municipal election officials and IT staff,
protocols related to election infrastructure. Finally
                                                            for a summit on elections cybersecurity.288
entities involved in administering elections, as well as
political organizations, should consider forming an
information sharing and analysis organization to share
data on cyber threats.




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CONCLUSION

The attacks in 2016 preview what is yet to come. In         When a sovereign nation attempts to meddle in our
March 2017, then-FBI Director James Comey testified         elections, it is an attack on our country. We cannot
before the House Permanent Select Committee on              leave states to defend against the sophisticated cyber
Intelligence that: “[T]hey’ll be back. They’ll be back in   tactics of state actors like Russia on their own. Michael
2020. They may be back in 2018.”289 Just days before        Chertoff, former Secretary of Homeland Security wrote
the 2017 elections, Bob Kolasky, the acting Deputy          in The Wall Street Journal, “In an age of unprecedented
Undersecretary of the National Protection and               cyber risks, these dangers aren’t surprising. But
Programs Directorate at the Department of Homeland          lawmakers and election officials’ lackadaisical response
Security said, “We saw in 2016 that Russia had an intent    is both staggering and distressing… This is a matter of
to be involved in our elections and some capability to      national security, and Congress should treat it as such.”
be active or to attempt to be active in scanning election   We urge Congress to act in a bipartisan fashion and
systems. We have not seen any evidence that intent          take action – to provide the necessary funding, to take
or capability has changed.”290 The threat remains, and      seriously the recommendations of this Task Force, and
Congress must act.                                          to recognize that election security is national security.




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TASK FORCE ACTIVITY APPENDIX

PUBLIC FORUMS                                             ON-SITE MEMBER AND
                                                          STAFF MEETINGS AND BRIEFINGS
Securing America’s Elections:
Understanding the Threat                                  Access Democracy
Witnesses: The Honorable Jeh Johnson, former              Mr. Jake Braun, Cambridge Global Advisors
Secretary of Homeland Security, and the Honorable
                                                          Dr. Ben Buchanan, Harvard University
Suzanne Spaulding, former Department of Homeland
Security Under Secretary for the National Protection      Brennan Center for Justice
and Programs Directorate.                                 Dr. Judd Choate, National Association of State Election
                                                          Directors President
Securing America’s Elections:
Preparing for 2018 and Beyond                             Department of Homeland Security
Witnesses: The Honorable Nellie Gorbea, Rhode             Mr. Jim Dickson, National Council on Independent
Island Secretary of State, Mr. Edgardo Cortés, Virginia   Living Voting Rights Task Force
Department of Elections Commissioner, and
                                                          Election Assistance Commission
Mr. Thomas Hicks, Election Assistance Commission
Commissioner & Vice-Chair.                                Dr. Edward W. Felten, Princeton University

                                                          Free and Fair Election Technologies

OFF-SITE MEMBER AND STAFF BRIEFINGS                       Dr. Juan Gilbert, University of Florida

Cyber Vulnerabilities in U.S. Voting Infrastructure,      Dr. J. Alex Halderman, Michigan State University
presented by DEFCON Hackers and National Security         Dr. John Koza, Michigan State University
Leaders at The Atlantic Council
                                                          National Association of Secretaries of State
Election Assistance Commission Public Meeting             National Association of State Chief Information Officers

National Security Imperative of Addressing Foreign        National Governors Association
Cyber Interferences in U.S. Elections,                    Open Source Election Technology Institute
Brookings Institute
                                                          Dr. John Savage, Brown University
Solutions to Secure America’s Elections,                  Ms. Marian Schneider, former Special Advisor to the
Center for American Progress                              Governor of Pennsylvania on Election Policy

                                                          The Honorable Steve Simon, Minnesota Secretary of
                                                          State

                                                          Verified Voting

                                                          VR Systems

                                                          Mr. Luther Weeks, State Auditability Working Group



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ENDNOTES

1    Official Statement by Secretary Jeh Johnson on the Desig-         11 Burris, A. L., Fischer, E.A. (2016) The Help America Vote
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statement-secretary-johnson-designation-election-infrastruc-
                                                                       12 Risk-Limiting Audits Working Group, Risk-Limiting
ture-critical.
                                                                       Post-Election Audits: Why and How, 5, (Jennie Bretschneider et
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